                   Case 3:22-cv-00058-RBM-BLM Document 1-2 Filed 01/14/22 PageID.15 Page 1 of 60




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                       LLC, THE CARLYLE GROUP,
                    12 CHARLIE SHAVER, SUZANNE M.
                       CARROLL and BAHAR AZIMIPOUR
                    13
                    14
                                                         UNITED STATES DISTRICT COURT
                    15
                                                   SOUTHERN DISTRICT OF CALIFORNIA
                    16
                    17
                         DENNIS CRIMMINS,                              Case No. '22CV58    BAS BLM
                    18
                                            Plaintiff,                 DECLARATION OF ASHLEIGH R.
                    19                                                 KASPER IN SUPPORT OF
                                  vs.                                  DEFENDANTS’ NOTICE OF
                    20                                                 REMOVAL OF CIVIL ACTION
                       NOURYON SURFACE CHEMISTRY,
                    21 LLC, a California Limited Liability             [Filed concurrently herewith Notice of
                       Company; THE CARLYLE GROUP,                     Removal; Request for Judicial Notice;
                    22 INC., a Califomia Corporation;                  Civil Case Cover Sheet; Notice of Party
                       CHARLIE SHAVER; an Individual; ‘                with Financial Interest (Carlyle);
                    23 SUZANNE M. CARROLL, an                          Notice of Party with Financial Interest
                       Individual; BAHAR AZIMIPOUR, an                 (Nouryon)]
                    24 Individual;’and DOES 1 through 25,
                       Inclusive,
                    25
                                    Defendant.
                    26
                    27

LEWIS               28 ///
B RISBOIS                4863-0233-7033.1
B ISGAARD
& SMITHLLP                DECLARATION OF ASHLEIGH R. KASPER IN SUPPORT OF DEFENDANTS’ NOTICE OF REMOVAL OF
ATTORNEYS AT LAW                                            CIVIL ACTION
                   Case 3:22-cv-00058-RBM-BLM Document 1-2 Filed 01/14/22 PageID.16 Page 2 of 60




                     1        I, Ashleigh R. Kasper, declare as follows:
                     2        1.     I am an attorney duly admitted to practice in all of the courts of the
                     3 State of California and I am a partner with Lewis Brisbois Bisgaard & Smith LLP,
                     4 attorneys of record for Defendants, NOURYON SURFACE CHEMISTRY, LLC,
                     5 THE CARLYLE GROUP, CHARLIE SHAVER, SUZANNE M. CARROLL and
                     6 BAHAR AZIMIPOUR (collectively “Defendants”) herein. The facts set forth
                     7 herein are of my own personal knowledge, and if sworn I could and would
                     8 competently testify thereto.
                     9        2.     Attached hereto as Exhibit 1 is a true and correct copy of the Complaint
                    10 in this matter which was filed in the Superior Court of California, County of San
                    11 Diego, Case Number 37-2021-00048405-CU-WT-CTL on November 15, 2021.
                    12        3.     Attached hereto as Exhibit 2 is a true and correct copy of the Summons
                    13 (on Complaint), Civil Case Cover Sheet, and Notice of Case Assignment and Case
                    14 Management Conference (Civil, scheduled for August 5, 2022) filed by Plaintiff on
                    15 November 15, 2021 and served on Defendant Nouryon Surface Chemistry LLC on
                    16 December 16, 2021.
                    17        4.     Attached hereto as Exhibit 3 is a true and correct copy of the Proof of
                    18 Service on Nouryon, filed by Plaintiff on December 23, 2021.
                    19        5.     Defendants The Carlyle Group, Inc., Charlie Shaver, Suzanne M.
                    20 Carroll, and Bahar Azimipour have not yet been served, but consent to and join
                    21 Defendant Nouryon Surface Chemistry LLC’s Notice of Removal. To Defendants’
                    22 knowledge, no other defendant(s) have been either named or served in this action.
                    23        6.     Attached hereto as Exhibit 4 is a true and correct copy of the
                    24 Declaration of Jeffrey W. Ferguson, General Counsel and Managing Director for
                    25 The Carlyle Group, Inc., in support of this Notice of Removal.
                    26        7.     Attached hereto as Exhibit 5 is a true and correct copy of the
                    27 Declaration of Meg Jones, General Counsel – Performance Formulations and

LEWIS               28 Americas for Nouryon Legal Group, in support of this Notice of Removal.
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B ISGAARD
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& SMITHLLP               DECLARATION OF ASHLEIGH R. KASPER IN SUPPORT OF DEFENDANTS’ NOTICE OF REMOVAL OF
ATTORNEYS AT LAW                                           CIVIL ACTION
                   Case 3:22-cv-00058-RBM-BLM Document 1-2 Filed 01/14/22 PageID.17 Page 3 of 60




                     1            8.        I have practiced law exclusively as an employment law attorney for
                     2 over eight years. Based on my experience in this field, I conservatively estimate
                     3 that the amount in controversy in this case well exceeds $75,000. My estimate is
                     4 based upon damages award trends in similar employment cases and my litigation
                     5 experience over the years. As evidence of jury verdicts in employment law cases,
                     6 attached as Exhibits 6 and 7 to Defendant’s Request for Judicial Notice are true and
                     7 correct copies of verdicts in California that I obtained on LexisNexis through a
                     8 search for factually similar employment lawsuits.
                     9            9.        Based upon my experience litigating similar disability discrimination
                    10 cases and my personal and firm’s experience in litigating cases against Plaintiff’s
                    11 counsel, I conservatively estimate Plaintiff counsel’s hourly rate to be in excess of
                    12 $300 per hour, and that Plaintiff’s counsel will accrue at least 100 hours litigating
                    13 this action through a mediation and at least 250 hours litigating the action through
                    14 trial.
                    15            I declare under penalty of perjury under the laws of the United States of
                    16 America that the foregoing is true and correct and that this declaration was executed
                    17 on this 14th day of January, 2022, at Los Angeles, California.
                    18
                    19                                                   /s/ Ashleigh R. Kasper
                                                                         Ashleigh R. Kasper
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& SMITHLLP                DECLARATION OF ASHLEIGH R. KASPER IN SUPPORT OF DEFENDANTS’ NOTICE OF REMOVAL OF
ATTORNEYS AT LAW                                            CIVIL ACTION
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                        Exhibit 1
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 1     ZACHARY CANTOR (SBN 270507)                                     ELECTFIOHICALLY FILEII
                                                                         Superior Court of Califomia,
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 8     T. 310.826.6300
 9     Attorneys for Plaintiff, DENNIS CRIMMINS
10                         SUPERIOR COURT OF THE STATE OF CALIFORNIA
11                                FOR THE COUNTY OF SAN DIEGO

12     DENNIS CRIMMINS, an Individual;        CASE NO. 3F-2021-000484G6-CU-UVT-CTL
13                  Plaintiff,                COMPLAINT FOR:
14
             V.                                   1. BREACH OF EMPLOYMENT CONTRACT;
15                                                2. AGE DISCRIMINATION;
       NOURYON SURFACE CHEMISTRY,                 3. ASSOCIATIONAL DISABILITY-BASED
16     LLC, a California Limited Liability            DISCRIMINATION;
       Company; THE CARLYLE GROUP,                4. DISABILITY-BASED ASSOCIATIONAL
17
       INC., a Califomia Corporation;                 HARASSMENT;
18     CHARLIE SHAVER; an Individual; '           5. FAILURE TO ACCOMMODATE DISABILITY;
       SUZANNE M. CARROLL, an                     6. FAILURE TO ENGAGE IN THE
19     Individual; BAHAR AZIMIPOUR, an                INTERACTIVE PROCESS OF
       Individual;'and DOES 1 through 25,             ACCOMMODATION OF A DISABILITY;
20     Inclusive,                                 7. FAMILY AND MEDICAL LEAVE
21                                                    DISCRIMINATION AND RETALIATION;
                    Defeiidants.   '              8. WHISTLEBLOWER RETALIATION (LABOR
22                                                    CODE § 1102.5);
                                                  9.  FEHA  RETALIATION;
23                                                10. KIN CARE LEAVE DISCRIMINATION AND
24                                                    RETALIATION (LABOR CODE § 233);
                                                  11. SICK LEAVE DISCRIMINATION AND
25                                                . ..RETALIATION (LABOR CODE § 246.5);
                                                  12. WRONGFUL TERMINATION;
26                                                13.INTENTIONAL INFLICTION OF
                                                      EMOTIONAL DISTRESS; AND
27 I
                                                  14. NEGLIGENCE.
28                                                    DEMAND FOR .IURY TRIAL


                                                  1
                                             ,COMPLAINT
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 2          Plaintiff DENNIS CRIMMINS, by and through his counsel, claims and alleges as follows:
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 3

 4          1.      Plaintiff DENNIS CRIMMINS (hereinafter "Plaintiff') is suing his former employer,

 5   Defendant NOURYON SURFACE CHEMISTRY, LLC (hereinafter "Defendant NOURYON" or

 6   "NSC"), Defendant THE CARLYLE GROUP, INC. (hereinafter "Defendant CARLYLE GROUP"),

 7   and its managerial and supervisory employees, including Defendant CHARLIE SHAVER (hereinafter

 8   "Defendant SHAVER"), Defendant SUZANNE M. CARROLL (hereinafter "Defendant CARROLL"),

 9   Defendant BAHAR AZIMIPOUR (hereinafter "Defendant Azimipour") (collectively as "Defendants"),

10   for wrongful termination, age discrimination, harassment based on age, retaliation, and intentional

11   infliction of emotional distress, among others.

12          2.      Throughout his employment at Defendant NSC, Plaintiff was subjected to

13   discriminatory and harassing behavior by reason of his age. Plaintiff was harassed, singled out, and

14   differentially , treated by Defendants; and each of them, in comparison to similarly situated younger

15   employees.

16          3.      Plaintiff brings this action against Defendants for economic, non-economic,

17   compensatory, and punitive damages pursuant to Civil Code § 3294, pre judgment interest pursuant to

18   Code of Civil Procedure § 3291, and costs and reasonable attorneys' fees pursuant to Government Code

19   § 12965(b) and Code of Civil Procedure section 1021.5.
                                                       Tf 1 77TY'TC7
20
21          4.      Plaintiff is a fifty-seven (57) year old individual, who, at all times relevant to this action,

22   resided in the County of San Diego, State of California.

23     1    5.      Plaintiff is informed, believes and thereupon alleges that Defendant NOURYON is a

24   California Corporation, lawfully doing substantial business in the County of San Diego, State of

25   California and was Plaintiff's employers at all times relevant herein.

26          6.      Plaintiff is informed and believes, and thereupon alleges, that Defendant CARLYLE

27   GROUP is a California Corporation, lawfully doing substantial business in the County of Contra Costa,

28   State of California and was Plaintiff s employers at all times relevant herein.


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 1             7.     Plaintiff is further informed, believes and thereupon alleges that DEFENDANTS
 2   NOURYON and CARLYLE GROUP (hereinafter collectively referred to as "Defendant
 3' Corporations") were and are Plaintiff's joint employer within the meaning of Government Code
 4   §§12926 (d), 12940 (a)(h)(1), (h)(3)(A) (i), and 12950. At all times relevant hereto, Defendant
 5   Corporations exercised, directly and indirectly, substantial control over significant aspects of the
 6   compensation, terms, conditions, or privileges of Plaintiff's employment.
 7             8.     Plaintiff is informed and believes, and thereupon alleges, that Defendant SHAVER is the

 8, CEO and Chairman at Defendant CARLYLE GROUP, and, based upon information and belief, is a
 9   resident of the state of Pennsylvania, at all times relevant herein.
10             9.     Plaintiff is informed and believes, and thereupon alleges, that Defendant CARROLL is
11   the Global Vice President of Home and Personal Care Department at Defendant NOURYON, and,
12   based upon information and belief, is a resident of the State of Pennsylvania, at all times relevant
13   herein.
14             10.    Plaintiff is informed and believes, and thereupon alleges, that Defendant AZIMIPOUR
15   is a Regional Sales Manager at Defendant NOURYON, and, based upon information and belief, is a
16   resident of the State of Pennsylvania, at all times relevant herein.
17             11.    Plaintiff is ignorant of the true names and capacities, whether individual, corporate,
18   associate or otherwise, of the Defendants sued herein under fictitious names Does 1 through 25,
19   inclusive, and 'for that reason sues said Defendants, and each of them, by such fictitious names.

20   Plaintiff is informed, believes, and thereupon alleges that each of the Defendant Does 1 through 25,
21   inclusive, is and was in some manner responsible for, participated in, or contributed to the matters and
22   things of which Plaintiff complains herein, and in some fashion, has legal responsibility therefore.

23   When Plaintiff ascertains the names and capacities of the fictitiously named Defendant Does 1 through
24   25, inclusive, Plaintiff will seek leave to amend this Complaint to set forth such facts.
25             12.   Plaintiff is informed, believes, and there upon alleges that each Defendant is, and at all
26   times relevant herein was, the agent of 'his, or its co-defendants, and in committing the acts alleged
27   herein, was acting within the scope of his, or its authority as such agent, and with the knowledge,
28   permission, and consent of his; or its co-defendants.


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     1                                       JIJRISDICTION AND VENUE
     2          13.    Venue is proper in this judicial district, pursuant to California Code of Civil Procedure §
     3   395(a). Plaintiff resides there and Defendants transact business in the County of San Diego, and are
     4   within the jurisdiction of this Court for purposes of service of process.

h
     5                           EXPIAUSTION OF ADMINISTItATIVE REMEDIES
     6          14.    Plaintiff timely filed a charge of discrimination with the California Department of Fair
     7   Employment and Housing ("DFEH"). The DFEH issued a Right-to-Sue Notice. Accordingly, Plaintiff

     8   has timely exhausted his administrative remedies. A true-and-correct copy of Plaintiff's Right-to-Sue
     9   Notice is attached to this complaint as Exhibit A.
    10          15.    Any and all other prerequisites to the filing of this suit have been met.
    11                                         FACTUAL ALLEGATIONS
    12          16.     By this reference, Plaintiff alleges and incorporates herein each and every allegation set
    13   forth in all previous paragraphs of the Complaint.
    14          17.     In or around February 1997, Plaintiff began working as an Account Manager for ICI's
    15   National Starch and Chemical, which was later acquired by AkzoNobel.
    16          18.     In 2008,. Plaintiff was assigned to AkzoNobel's Surface Chemistry business as an
    17   Account Manager.

    18          19.     In or around July 2015, Plaintiff was promoted as a Sales ancd Marketing Manager of

    19   North America 'for the Surface Chemistry's Personal Care Segment. At the time, Plaintiff was

    20 I responsible in managing several direct reports, distributors, and key accounts of the Surface Chemistry

    21   business.
    22          20.     In or around October 2018, Defendant CARLYLE GROUP acquired AkzoNobel's
    23 I Surface Chemistry, which then became Defendant NOURYON.

    24          21.     Shortly thereafter, Plaintifi was assigned to more duties and responsibilities that were
    25   beyond his role as a Sales and Marketing Manager. Plaintiff's role expanded to mariaging key business
    26   relationships with the suppliers, including Ingredion Incorporated. Plaintiff also became part of a 2-
    27   person management team that was responsible for negotiating contracts with suppliers, Business
    28   Development, and Global Sales lead for pricing and strategy of key accounts.


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 1             22.     For over 24 years of his employment at Defendant NOURYON, Plaintiff performed his
 2     duties in a fully successful manner. Plaintiff regularly received merit-based increases and bonuses.
 3     Prior to the incidents described below, Plaintiff had never been a subject of any disciplinary action or
 4     write ups.
 5             23.     During his time with Defendant NOURYAN, Plaintiff heard executives and managers
 6     discuss how they were frustrated with Defendants CARLYLE GROUP and SHAVER. Defendant
 7 I SHAVER enforced Defendant CARLYLE GROUP's policy to push out, leave, or fire any einployee
 8     over 50 years old making $200,000.00 or greater.

 9             24.     In or around March 2019, Plaintiff's direct supervisor Jeff Jirak ("Mr. Jirak") told

10     Plaintiff that Defendant Shaver informed a group of managers that any manager not on board with this
11     policy can "leave now. "
12 ,           25.     In or around April 2019, Mr. Jirak severed his employment ties with Defendant

13 , NOURYON. Thus, the NOURYON's Global Leader AB Gohsh ("Mr. Gohsh") became Plaintiff's
14 ' direct manager.
15             26.     Meanwhile, Plaintiff continued to perform his work diligently and responsibly. Plaintiff

16     travelled over 160,000 miles on behalf of the Defendant NOURYON.

17             27.     In or around June 2019, Mr. Gohsh approached Plaintiff and persuaded him to stay at

18     the company. To induce Plaintiff to accept continued employment, Mr. Gohsh offered him a retention

19     bonus of $45,000 and a contract valid until July 15, 2020, which Plaintiff accepted.

20             28.     In or around December 2019, Plaintiff received an "On-TaYget Rating" for 2019 for his

21     positive work performance. Mr. Gohsh also praised Plaintiff by saying that "You aYe the best Sales

22     Manager of the group. "

23             29.     In or around December 2019, following Mr. Gohsh's departure from the company,

24 I Defendant Carroll took over as the Global Vice President of both Home and Personal Care and became
25     I Plaintiff's direct manager.
26             30.     On or about March l, 2020, Plaintiffs son suffered serious injuries after being hit by a
27     drunk driver as he was standing on a sidewalk. Plaintiff immediately informed Defendant Carroll about
28 I his son's condition with a request for understanding as he needed to focus on taking care of his son.


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                                                 COMPLAINT
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     1    Plaintiff specifically advised Defendant Carroll that he intended to continue performing his duties while
     2    he was at the hospital.
     3           31.     At all times moving forward Plaintiff provided the necessary information to Defendant
     4    NOURYON regarding his son's medical needs for insurance purposes. Plaintiff's son was denied a
      5   continuance of benefits approximately four hours before he tumed the age of 26.
      6          32.     Two days later, Plaintiff learned through one of the finance analysts that Defendant
      7   CARROLL criticized him for missing a meeting by saying that, "he (Plaintifj~ needs to be in this

      8   meeting or find someone who can!" The said finance analyst called Plaintiff and conveved Defendant

      9   Carroll's hostile tone during the meeting.
.,   10          33.     Soon thereafter, Plaintiff's coworkers warned him that Defendant CARROLL "had it
     11   out for [PlaintiffJ" and that she "didn't care about what was going on with [Plaintiff's] son." Plaintiff

     12   then reached out to Defendant's Human Resources to file a complaint and was merely told he has

     13   "nothing to woYry about."

     14          34.     From March 2, 2020 through April 4, 2020, Plaintiff continued working from the
     15   hospital while simultaneously caring for his injured son.
     16          35.     On or about April 5, 2020, when his son was released - from the hospital, Plaintiff

     17   continued to provide him full-time care while working remotely.

     18          36.     Subsequently, when two of his subordinates took a maternity leave, Plaintiff also

     19   covered all their accotints in'addition to his regular duties and on top of caring for his son.

     20          37.     During this time and to Plaintiff's dismay, Defendant CARROLL failed to work witli or

     21   compromise w'ith Plaintiff at all. For instance, Plaintiff was instructed to attend mandatoiy conference
     22   calls at 4:40 AM PST. Wlien Plaintiff asked to schedule meetings at a later time, he was given a

     23   resounding "no " as an answer.

     24           38.    Plaintiff was denied the opportunity to take FMLA-qualifying leave. Plaintiff continued

     25   working regularly, without acconunodations, while also providing full-time care for his injured son.
     26           39.    On or about July 15, 2020, during Plaintiff's mid-year review, Defendant CARROLL
     27   acknowledged that Plaintiff successfully performed his job despite two of his subordinates being on
     28   mateniity leave on top of his personal situation. Thereafter, Defendant CARROLL informed Plaintiff


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 1   that they were eliminating his position and offered him a new role as a Channel Development Manager.
 2   Defendant CARROLL advised Plaintiff that instead of managing both people and the business, his new
 3   role would be focused on managing the business only with emphasis on distribution, key global
 4   accounts and manufacturing contracts. Defendant CARROLL also presented to Plaintiff a new
 5   retention bonus offer of $40,000, which would be paid in August 2021. At the time, Defendant
 6 I CARROLL clearly indicated to Plaintiff that his new position was a lateral move.

 7          40.      On or about August 3, 2020, Defendant AZIMIPOUR commenced her employment and I

 8   became Plaintiff's immediate supervisor.

 9           41.     To Plaintiff's dismay, Defendant AZIMIPOUR denied knowing and/or understanding
10   the new role Defendant Carroll offered to Plaintiff. Plaintiff then asked Defendant AZIMIPOUR to
11   confirm with the Defendants about his role to make sure that everyone was "on the same page." In I
12   response, Defendant AZIMIPOUR promised Plaintiff that she would let him know by the end of the

13   month. Meanwhile, Plaintiff continued to provide assistance to Defendant AZIMIPOUR without his I

14   role being conipletely defined.
15           42.     On or about September 3; 2020, Defendant AZIMIPOUR told Plaintiff that she needed
16   "more time" to determine Plaintiff's role. Defendant AZIMIPOUR then suggested that Plaintiff's role il
17   would be more in line to a Senior Account Manager because he had the highest dollar total budget.

18   Plaintiff expressed that it was not what Defendant CARROLL offered. Plaintiff asserted that he needed

19   the matter to be finalized as agreed on July 15, 2020. Plaintiff then reiterated Defendant CARROLL's

20   earlier statement about the key global accounts as part of his role. In response, Defendant AZIMIPOUR
21   assured Plaintiff that the determination about his role would be completed by the end of the month of
22   September.

23           43.     In or around September 2020, Plaiiitiff submitted prior approvals for the promotion of a

24   former subordinate, Amanda Nelson ("Ms. Nelson''), who was returning from maternity leave. To

25   Plaintiff's surprise, Defendant AZIMIPOUR lied and told Ms. Nelson that she never received any
26   approvals from Plaintiff., This prompted Plaintiff to send another approval request, which Defendant
27   AZIMIPOUR again denied receiving. Thus, Plaintiff sent an email to Defendant AZIMIPOUR to
28   ensure that the latter received it.


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1            44.     Consequently, Plaintiff noticed a pattem of false statements by Defendant AZIMIPOUR
2     where she would deny receiving emails and/or updates from Plaintiff and reprimand him for not doing
3 I so thereafter.
4            45.     By the end of the September 2020, Defendant AZIMIPOUR again failed to honor
 5    Plaintiffs role as a Channel Development Manager. She instead, began treating him as a Junior
6    I Representative.
 7           46.     Subsequently, Plaintiff complained to Defendant's Human Resources manager, Astrid

 8    Tompkins ("Ms. Tompkins"), about Defendant AZIMIPOUR's behavior. However, Ms. Tompkins

 9    refused to act on Plaintiff's reported concems and advised Plaintiff to "have patience with Bahar who
10    is leaYning on the job. "
11           47.     On or about October 4, 2020, Defendant AZIMIPOUR claimed that she still had not
12    finalized Plaintiff's role and/or accounts and added that it may be until the end of the year when she

13    could finally do so. When Plaintiff asked Defendant AZIMIPOUR if she had read the job offer,
14    Defendant AZIMIPOUR became visibly hostile.
15           48.     In or around November 2020, Plaintiff sent an email to the Defendant's HR inquiring
16    about the short-term incentive bonus offered to the employees in 2019, which was before Defendant
17    Carroll came on board.

18           49.     On or about December 4, 2020, Plaintiff inet with Defendant Carroll to discuss his

19    inquiry about the incentive bonus due to him. Thereafter, Defendant Carroll claimed that Plaintiff was

20    paid fairly in 2019 and that he was owed nothing for the short-term incentive bonus. Plaintiff then

21    asked about his offered role which Defendant Azimipour was still unable to fulfill. To Plaintiff's
22    surprise, Defendant Carroll drastically changed her tune and began accusing Plaintiff of "not doing a

23    good job before the new role was offeYed. " Defendant Carroll informed Plaintiff that he would not be
24    strategically involved with the business as previously offered. Prior to that meeting, Plaintiff had never

25    been advised of any concerns about his work performance. Plaintiff reasonably believed that
26    Defendants were setting him up for a negative review to justify their decision to unilaterally withdraw
27    from the agreement. Later, Plaintiff contacted Ms. Tompkins and complained about the unfair decision.
28            50.    On or about December 11, 2020, Plaintiff took leave. While out on leave, Plaintiff


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Case 3:22-cv-00058-RBM-BLM Document 1-2 Filed 01/14/22 PageID.27 Page 13 of 60




1    constantly received emails and/or calls from Defendant AZIMIPOUR for work-related matters.
2            51.   On or about January 14, 2021, Plaintiff again contacted Ms. Tompkins and complained
3 I about the Defendant's continued failure to honor the position of Channel Development Manager, which

4    was originally offered by them. Plaintiff also complained that Defendants failed to give any
 5   "comparable position" to the said role. Ms. Tompkins then informed Plaintiff that she had not yet
 6   talked to Defendant Carroll about Plaintiff's December 2020 complaint.
 7           52.   On or about January 22, 2021, Defendant AZIMIPOUR conducted Plaintiff's yearly

 8   review on a phone conference. During the call, Defendant AZIMIPOUR praised Plaintiff for his

 9   excellent work performance for the previous year. However, Defendant AZIMIPOUR proceeded to

10   give Plaintiff a negative overall rating of below target due to "not supporting demand planning tools,
11   CRM updates, and VOC meetings. " Plaintiff felt extremely frustrated because these performance
12   metrics were not part of the goals initially approved by Defendant Carroll. Plaintiff expressed that he

13   intended to contact HR arid appeal the negative review, the first negative review in his 24 years of
14   employment at Defendant NOURYON. Plaintiff asserted to HR that this negative performance review
15   was based on fabricated and undisclosed requirements is a clear attempt to justify the withholding of
16   his retention bonus and merit=based salary increase.

17           53.    On or about February 11, 2021, Plaintiff submitted a request for 2-days off, February 17

18   and February 18, 2021, to be with his son during a scheduled surgery.

19           54.    While on FMLA-qualifying leave, Plaintiff contiiiued to receive calls and emails from

20   Defendant AZIMIPOUR demanding that he perf6rm work tasks while on leave.
21           55.    On or about February 24, 2021, Plaintiff again received a call from Defendant

22   AZIMIPOUR asking about a distributor move. Plaintiff then explained that he had already discussed

23   with her and the senior team about the said matter. To Plaintiff's further surprise, Defendant
24   AZIMIPOUR claimed that it was no longer his job to call the distributors. Plaintiff expressed that it

25   was news to him because it was part of the role that Defendant Carroll offered to him. However,
26   Defendant AZIMIPOUR was adamant that Plaintiff not to talk to the distributors until she could "think
27   about it. "
28           56.    Later,   Plaintiff contacted Ms.        Tompkins   and   complained   about   Defendant


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                                               COMPLAINT
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1    AZIMIPOUR's conduct. Plaintiff expressed that he felt being discriminated against as not only an older
2    employee and because of his association with his disabled son.
3           57.     On or about February 26, 2021, two days after Plaintiff's complaint to the Defendant's
4    HR, Defendants proceeded to terminate Plaintiff's employment.
5           58.     Ultimately, Plaintiff's employment with Defendant NOURYON was unlawfully
6    terminated without real, substantial, and compelling reason.
 7          59.     Due to Plaintiff's sudden and wrongful termination, Plaintiff has suffered, and continues

 8   to suffer, severe emotional distress, including, but not limited to, emotional distress, anxiety, and

 9   mental suffering.

10                                       F'IItST CATJSE OJr ACTION
11                               BREACH OF EMPI.OYMEN'I' CONTR4.C'I'

12                          A.GAINS'I' DEF'ENIDANT NOriJItYON ANI) DOES 1— 25

13          60.     Plaintiff alleges and incorporates herein by this reference each and every allegation set

14   forth in all previous paragraphs of the Complaint.
15          61.     Based on the express representations, promises and conduct of Defendants. Plaintiff had

16   an employment contract with Defendant. The terms of this agreement were that Plaintiff would work as

17   a Channel Development Manager and that he would be paid a retention bonus.
18          62:     At all times, Plaintiff fulfilled his duties and conditions under the employment

19   relationship and was ' ready; willing and able to continue performing them in a competent and

20   satisfactory manner.

21          63.     Defendant NOURYON breached the employment contract with Plaintiff by, among

22   other things wrongfully terminating Plaintiff's employment.

23          64.     Plaintiff reasonably expected that Defendant NOURYON would apply its own policies
24   and procedures and those mandated by law in a manner that would afford Plaintiff the protection of
25   Defendant's policies and procedures, if Defendant believed there was cause to discharge Plaintiff.
26          65.     Defendant N.OURYON violated the employment contract with Plaintiff by discharging
27   him intentionally, maliciously, without probable cause, in bad faith and for a reason extraneous to the
28   employment relationship.


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 1               66.   As a proxiinate result of Defendant NOURYON's violation of the employment contract
 2   with Plaintiff, Plaintiff has suffered and continues to suffer loss of past and future wages, and
 3   employment benefits and opportunities, on account of which Plaintiff is entitled to compensatory
 4   damages, the exact amount and nature of such loss is presently unknown to Plaintiff, who will either
 5   seek leave to amend this complaint upon ascertaining such information, or will prove same at the time
 6   of trial.
 7                                        SECOND CAUSE OF ACTION
 8                                           AGE DISCRIIVIINATION

 9                AGAINST DEFENDANT NOURYON, CARLYI,E GROUP, AND DOES 1— 25

10               67.   Plaintiff alleges and incorporates herein by this reference each and every allegation set
11   forth in all previous paragraphs of the Complaint as if fully set forth herein.
12               68.   Plaintiff was at all times hereto an "employee" within the meaning of California
13   Government Code §.12926(c) and California. Government Code § 12940(a) and (c), which prohibit age
14   discrimination in employment.
15               69.   Defendants NOURYON and CARLYLE GROUP were at all material times an
16   "employer" as defined by California Government Code § 12926(d) and within the meaning of

17   California Government Code § 12940(a) and (c) and, as such, was barred from discriminating or

18   retaliating in employment decisions on the basis of age as set forth in California Government Code §

19   12940.

20               70.   Defendants NOURYON and CARLYLE GROUP discriminated against Plaintiff on the

21   basis of his age in violation' of California Government Code § 12940(a) and (c), Article I of the
22   Califomia Constitution arid related statutes by engaging in the course of conduct more fully set forth in
23   the General Allegations stated above.

24               71.   As a result of Defendant's unlawful discrimination against Plaintiff, Plaintiff has
25   suffered and continues to suffer (a) substantial humiliation, serious mental anguish, and emotional and
26   physical distress; and (b) loss of past and future earnings, and employment benefits and opportunities,
27   all on account of which Plaintiff is entitled to compensatory damages. The exact amount and nature of
28   such damages exceeds the jurisdictional limits of this court, but are presently unknown to Plaintiff, who


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 1 I will either seek leave to amend this Complaint upon ascertaining such information, or prove the same at

 2 I the time of trial.

 3           72.     As more fully set forth above, the age discrimination by Defendants NOURYON and
 4   CARLYLE GROUP were committed intentionally, maliciously, wantonly, and oppressively, with a
 5   conscious disregard for PlaintifPs rights and with the intent to vex, injure, punish, and annoy Plaintiff
 6   so as to cause the injuries sustained by Plaintiff, which acts amounted to oppression and malice, as
 7   described in California Civil Code § 3294. Plaintiff is therefore entitled to punitive or exemplary
 8   damages in an amount sufficient to punish and make an example out of Defendant.

 9                                        TI3IRD CAiJSE ®F ACTI®N

10                          ASSGCIATIONAL I)ISABII,ITY I)ISCRIlVIINATI®N
11              AGAINST DEFENI)ANT N®IJIBY®N, CAIPI.YI,E GROiJP ANID I)®ES fl— 25
12           73.     Plaintiff alleges and incorporates herein by this reference each and every allegation set
13   forth in all previous paragraphs of the Complaint.

14           74.     Plaintiff was at all times hereto an "employee" within the meaning of California
15   Government Code § 12926(c) and California Governinent Code §§ 12940(a) and (c) and §12926(o),
16   which prohibit associational disability discrimination in employment.

17           75.     Defendants were at a11 material times an "employer" as defined by California

18   Government Code § 12926(d) and within the meaning of California Government Code §§ 12940(a) and
19   (c) and, as such, was barred from discriminating in employment decisions on the basis of disability or

20   association with someone having a.disability, as set forth in California Government Code § 12940 and
21   §12926(o).

22           76.     Defendants have discriminated against Plaintiff on the basis of disability in violation of

23   California Government Code §§ 12940(a) and (c), 12926(o), Article I of the California Constitution and

24   as per Castro-Itainirez v. Dependable Higtl~vay Ex.~~ress..::Iilc. (2016) 2 Cal. App. 5th :1028, by engaging

25   in the course of conduct more fully set forth in the General Allegations and all paragraphs stated above.
26           77.     As a result of Defendants' unlawful discrimination against Plaintiff, Plaintiff have
27   suffered and continues to suffer (a) substantial humiliation, serious mental anguish, emotional and
28   physical distress; and (b) loss of past and future earnings, and employment benefits and opportunities,


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 ll on account of which Plaintiff is entitled to compensatory damages. The exact amount and nature of
2    such damages exceed the jurisdictional limits of this court, but are presently unknown to Plaintiff, who
 3   will either seek leave to amend this Complaint upon ascertaining such information, or will prove the
 4 I same at the time of trial.

 5            78.     As more fully set forth above, the disability discrimination by Defendants were
 6   committed intentionally, maliciously, wantonly, oppressively, and fraudulently with a conscious
 7 I disregard for Plaintiff's rights and with the intent to vex, injure, punish, and annoy Plaintiff so as to

 8   cause the injuries sustained by Plaintiff. Such acts amounted to oppression, fraud, and malice, as
 9   described in California Civil Code § 3294. Plaintiff is therefore entitled to punitive or exemplary

10   damages in an amount sufficient to punish and make an example out of Defendant.
11                                          FOI1R'I'H CAZTSE ®F ACTIGN

12                                F'AII.IJRE T® ACC®M1VI®DA'I'E DISABII.ITY

13               AGAINST I)EFENDANT N®IJRY®N, CAItI.1'I,IE GItGITP AND D®ES fl— 25

14            79.     Plaintiff alleges and incorporates herein by this reference each and every allegation set

15 I I forth in all previous paragraphs of the Complaint.
16            80.      Plaintiff at all times hereto was an "employee" within the meaiiing of California

17   Government Code § 12926(c) and California Government Code §§12940 (a) and (c), which prohibit

18   pregnancy, disability/medical condition harassment/discrimination in employment.
19            81.     Defendants were at all material times an "employer" within the meaning of California

20   Government Code §12926(d) and California Government Code §§12940(a) and (c), and, as such, was

21   barred from harassing/discriminating against Plaintiff on the basis of his association with a person with
22     disability, as set forth in California Government Code §12940.

23            82.      At the time of Plaintiff's employment with Defendants, his son was suffering from a

24     condition that substantially limits his major life activities.

25            83.      Despite having knowledge of Plaintiff's situation, Defendants failed to provide Plaintiff
26     with a reasonable accommodation for the above condition.
27 ~          84..     As a proximate result of Defendants' failure to accommodate Plaintiff, Plaintiff has
28     suffered (a) humiliation, serious mental anguish, and emotional and pl7ysical distress; and (b) loss of


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1    past and future earnings, and employment benefits and opportunities; all on account of which Plaintiff
2    is entitled to compensatory damages. The amount and nature of such damages exceed the jurisdictional
3 1 limits of this court, but are presently unknown to Plaintiff, who will either seek leave to amend this
4    Complaint upon ascertaining such information, or will prove the same at the time of trial.
 5          85.      As more fully set forth above, Defendant NOURYON's failure to accommodate
 6 I Plaintiff's known serious health conditions was committed intentionally, maliciously, wantonly, and '
 7   oppressively with a conscious disregard of Plaintiff's rights and with the intent to vex, injure, punish, '

 8   and annoy Plaintiff so as to cause the injuries sustained by Plaintiff. Such acts amounted to oppression

 9   and malice, as described in California Civil Code § 3294. Plaintiff is therefore entitled to punitive or

10   exemplary damages in an amount sufficient to punish and make an example out of Defendant.
11                                          FIFTII CAUSE OF ACTION

12       FAII,EJRE TO ENGAGE IN TgIE INTERACTIVE PROCESS OF ACCO1VIMODATION
13             AGAINST DEFENDANT NOiJRYON, CARI.YI,E GROiJP A_ND DOES 1— 25
14          86.      Plaintiff alleges and incorporates herein by this refererice each and every allegation set
15   forth in all previous paragraphs of the Complaint.
16          87.      Plaintiff was at all times hereto an "employee" within the meaning of California

17   Government Code § 12926(c) and California Government Code §§12940(a) and (c), which prohibit

18   associational harassment/discrimination in employment.

19          88.      Defendants were at all material times an "employer" within the meaning of California

20   Government Code § 12926(d) and California Government Code § 12940(a) and (c) and, as such, was
21   barred from harassment/discrimination of Plaintiff on the basis of his association with a person with

22   disability, as set forth in California Government Code §12940.

23          89.      At the time of Plaintiff's employmeiit with Defendants, his son was suffering from a

24   condition that substantially limited his major life activities.
25           90.     Despite having notice of Plaintiff's condition, and notice of Plaiiitiff's request for a
26   reasonable accommodation, Defendants failed to engage in a timel.y, good faith, interactive process
27   with Plaintiff to determine effective reasonable accommodations in violation of Califomia Government
28   Code § 12940(n).


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1           91.      As a result of Defendants' failure to engage in the interactive process of
2    accommodation, Plaintiff has suffered and continues to suffer (a) substantial humiliation, serious
3    mental anguish, and emotional and physical distress; and (b) loss of past and future earnings, and
4    employment benefits and opportunities, on account of which Plaintiff is entitled to compensatory
 5   damages. The exact amount and nature of such damages exceed the jurisdictional limits of this court,
 6   but are presently unknown to Plaintiff, who will either seek leave to amend this Complaint upon
 7   ascertaining such information, or will prove the same at the time of trial.

 8          92.      As more fully set forth above, Defendants' failure to engage in the interactive process to

 9   accommodate Plaintiff was committed intentionally, maliciously, wantonly, and oppressively, with a

10   conscious disregard for Plaintiff's rights and with the intent to vex, injure, punish, and annoy Plaintiff
11   so as to cause the injuries sustained by Plaintiff. Such acts amounted to oppression and malice, as
12   described in Califomia Civil Code § 3294. Plaintiff is therefore entitled to punitive or exemplaiy

13   damages in an amount sufficient to punish arid make an example out of Defendant.
14                                        SIXTH CAIJSE OF AC'I'ION

15            FAMILY AND MEDICAL LEAVE DISCRIMINATION AN-D RETALIATION
16            AGAINST DEFENDANT NOiJItYON, CARLYLE GROUP AND DOES 1— 25

17          93.      Plaintiff alleges and incorporates herein by this reference each and every allegation set

18   forth in all previous paragraphs of the Cornplaint.

19          94.      Under the Fair Employment and Housing Act ("FEHA"), Government Code §12940 et

20   seq., and more specifically, the California Family Rights Act ("CFRA") as well as FMLA, it is an
21   unlawful employment practice for an employer to refuse to grant a request by any employee to take up
22   to 12 workweeks in any 12 month period for family and medical leave. It is an unlawful employment
23   practice for the employer to fail to guarantee, to each employee taking family or medical leave

24   einployment in the same or comparable position at the end of the family or medical leave. It is an

25   unlawfizl employment practice for an employer to refuse to hire, to discharge, fine, suspend, expel,
26   discrimination or harass an einployee because of an employee's exercise of the right to family care and
27   medicalleave.
28          95.      At all times mentioned in this complaint, Defendants were an eniployer and employed


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 ll more than 50 employees in a 75 rriile radius of plaintiff's place of work.
2           96.     Plaintiff's protected status under the FEHA is Plaintiff's exercise of and/or attempts to
3 I exercise family andlor medical leave rights, and/or Plaintiff giving information and/or testimony in an I
4    inquiry and/or proceedings related to rights guaranteed under the California Family Rights Act.
 5   Plaintiff complied with all applicable notice requirements, if any, of Defendants, and of the California
6 I Family Rights Act.
7           97.     Defendants knew, perceived, and/or believed that Plaintiff had the aforementioned I

 8 I protected status, described hereinabove.
 9          98.     Defendants failed and refused to comply with the California Family Rights Act, as

10   described hereinabove. Defendants failed to guarantee Plaintiff's employment in the same or
11   comparable position at the end of family or medical leave; and/or refused to hire, discharged, fined,
12   suspended, expelled, demoted, constructively discharged, refused to promote, failed to reinstate,

13   discriminated against and/or harassed Plaintiff because of Plaintiff's exercise of and/or attempts to
14   exercise family and/or medical leave rights under the California Family Rights Act.
15          99.     Plaintiff's exercise of his medical leave rights due to serious health condition was a
16   motivating factor in Defendants aforementioned decisions that were adverse to Plaintiff.

17          100.    As a direct, legal, and proximate cause of Plaintiff's aforementioned protected status,

18   Defendants discriminated and harassed Plaintiff by engaging in the course of conduct set forth in the

19   General Allegations and a11 paragraphs stated above, amongst other things.

20          101.    As a result of Defendants' above referenced discrimination, harassment, and retaliation, I
21   Plaintiff has suffered and continues to suffer (a) substantial humiliation, serious mental anguish, and
22   emotional and physical distress; and (b) loss of past and future earnings, and employment benefits and

23   opportunities, on account of which Plaintiff is entitled to compensatory damages. The exact amount

24   and nature of such damages exceed the jurisdictional limits of this court, but are presently unknown to
25   Plaintiff, who will either seek leave to amend this Coinplaint upon ascertaining such information, or
26   will prove the same at the time of trial.
27          102.    As more fully set fortli above, Defendants' above referenced discrimination, harassment,
28   and retaliation was committed intelitionally, maliciously, wantonly, and oppressively, with a conscious


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1    disregard for Plaintiff's rights and with the intent to vex, injure, punish, and annoy Plaintiff so as to I
2    cause the injuries sustained by Plaintiff. Such acts amounted to oppression and malice, as described in I
3    California Civil Code § 3294. Plaintiff is therefore entitled to punitive or exemplary damages in an
4    amount sufficient to punish and make an example out of Defendants.
 5                                        SEVENTII CALTSE OlE ACTIOl®T

 6            W>FIISTLEBLOWEIY ItE'I'ALIA'TI0N IN VIOLATION OF LA1BOIt CODE § 1102.5

 7               AGAINS'I' DEEENDAloi'I' NOIJIaY0N, CARLYLE GROgJP AND DOES 1— 25

 8             103.    Plaintiff alleges and incorporates herein by this reference each and every allegation set

 9   forth in all previous paragraphs of the Complaint.
10        104. Plaintiff was wrongfully discharged for his whistle-blowing action, in violation of California
11           Labor Code §§ 1102.5. Specifically, Plaintiff was retaliated against and terminated because he

12           reported and/or refused to participate in Defendants' unlawful and illegal practices.

13        105. By wrongfully discharging Plaintiff, without cause or justifieation, and for the retaliatory

14           reasons set forth above, Defendants acted willfully and with malice towards Plaintif£
15        106. As a direct and proximate result of Defendants' retaliatory actions against Plaintiff, Plaintiff
16           suffered (a) humiliation, serious mental anguish, and emotional and physical distress to his

17           damage in a sum yet to be ascertained and (b) loss of past and future wages, and employment

18           benefits and opportunities, on account of which Plaintiff is entitled to compensatory damages, the

19           exact amount and nature of such loss which is presently unknown to Plaintiff, who will either

20           seek leave to amend this Complaint upon ascertaining such information, or will prove same at the

21           time of trial.

22        107. As more fully set forth above, the retaliation by Defendants was done intentionally, maliciously,

23           wantonly, oppressively, and fraudulently with a conscious disregard for Plaintiff rights and with

24           the intent to vex, injure, punish, and annoy Plaintiff so as to cause the injuries sustained by

25           Plaintiff, within the meaning of California Civil Code § 3294. Plaintiff is therefore entitled to

26           punitive or exemplary damages in an amount sufficient to punish and make an example out of
27           Defendants.
28 I //


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 1                                         EIGHTH CAIJSE OF ACTION
 2           RETALIATION FOIZ COIVIPLAINTS OF DISCIIIIVIINATION AND HARASSMENT
 3               AGAINST DEFENDANT NOiJ1IYON, CAIaLYLE GItOiJP AND DOES 1— 25
 4             108.    Plaintiff re-alleges and incorporates herein by this reference each and every allegation
 5     set forth in all previous paragraphs of the Complaint as if fully set forth herein.
 6             109.    In violation of California Government Code § 12940(h), Defendants retaliated against
 7 I Plaintiff by terminating Plaintiff's employment after he reported the seemingly increasing events of

 8     discrimination and harassment against his, as more fully set forth in the General Allegation and all

 9     paragraphs stated above, among other things.
10            110.     As a direct and proximate result of Defendants' retaliatory actions against Plaintiff,
11     Plaintiff suffered and continues to suffer substantial (a) humiliation, serious mental anguish and
12     emotional and ph.ysical distress; and (b) loss of past and future wages, and employment benefits and
13     opportunities, on account of which Plaintiff is entitled to compensatory damages, the exact amount and
14     nature of which exceeds the jurisdictional limits of this court but is presently unknown to Plaintiff, who
15     will either seek leave to amend this complaint upon ascei-taining such information, or will prove the I
16     same at the time of trial.
17             lll.    As more fizlly set forth above, Defendants' retaliatory actions were willful, wanton,
18     malicious, and oppressive and committed with the intent to cause th'e injtiries sustained by Plaintiff,
19     within the meaning of California Civil Code § 3294. Plaintiff is therefore entitled to punitive or I

20     exemplary damages in an amount sufficient to punish and make an example of Defendant.
21                                          NINTIFI CAIJSE OF ACTION

22                       KIN CARE LEAYE DISCItIlVIINATION AND RETALIATION
23                                   IN VIOLATI®N OF LABOR CODE § 233

24               AGAINST DEFENDANB' NOITRYON, CARLYLE GIIOIJP AND DOES 1— 25
25 '          112.    Plaintiff alleges and incorporates herein by this reference each and every allegation set I
26     forth in all previous paragraphs of the Complaint.
27 I          113.    Plaintiff was at all times hereto an "employee" within the meaning of California
28     Government Code § 12926(c) and California Government Code § 12940(a) and (c), which prohibit


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 1   disability-based associational discrimination in employment.
 2           114.    Defendant NOURYON was at all material times an "employer" as defined by California
 3   Government Code § 12926(d) and within the meaning of California Government Code § 12940(a) and
 4   (c) and, as such, was prohibited from harassing or retaliating in employees for using or attempting to
 5   use sick leave that accrued during six months for a reason allowed under section 246.5 set forth in
 6 I California Labor Code § 233.
 7           115.    Defendants harassed Plaintiff for using or attempting to use sick leave that accrued I

 8   during six months for a reason allowed under section 246.5, in violation of California Labor Code §

 9   233, Article I of the California Constitution and related statutes by engaging in the course of conduct
10   more fully set forth in the General Allegations stated above.
11           116.    As a result of Defendants' unlawful harassment of Plaintiff, Plaintiff has suffered and
12   continues to suffer (a) substantial humiliation, serious mental anguish, and emotional and physical I
13   distress; and (b) loss of past and future earnings, and employment benefits and opportunities, all on

14   account of which Plaintiff is entitled to compensatory damages. The exact amount and nature of such
15   damages exceeds the jurisdictional limits of this court, but are presently unknown to Plaintiff, who will
16   either seek leave to amend this Complaint upon ascertaining such information, or will prove the same at

17   the time of trial.

18           117.    As more fu11y set forth above, the disability harassment by Defendants was committed

19   intentionally, maliciously, wantonly, and oppressively with a conscious disregard for Plaintiff's rights

20   and with the intent to vex, injure, punish, and annoy Plaintiff so as to cause the injuries sustained by '

21   Plaintiff, which acts amounted to oppression and malice, as described in California Civil Code § 3294.
22   Plaintiff is therefore entitled to punitive or exemplary damages in an amount sufficient to punish and

23   make an example out of Defendants.
24                                         TLNTI3 CAYTSL OF ACTI®N

25                           SICK LEAVE DISCR1[MATI®N ANID RETALIATION
26             E4.GAINST DEFENDANT N®iJRY®N, CARLYI.E GR®UP AND DOES 1— 25
27           118.    Plaintiff alleges and incorporates herein by this reference each and every allegation set
28 I I forth in all previous paragraphs of. the Complaint.


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1            119.                                                 e" within the meani g of California
                     Plaintiff was at all times hereto an "employen
2    Government Code § 12926(c) and California Government Code § 12940(a) and (c), which prohibit
3    disability-based associational discrimination in employment.
4            120.    Defendant NOURYON was at all material times an "employer" as defined by California
5    Government Code § 12926(d) and within the meaning of California Government Code § 12940(a) and
6    (c) and, as such, was prohibited from denying an ernployee the right to use accrued sick days set forth
 7   in California Labor Code § 246.5.

 8           121.    Individual Defendant CARROLL was a managerial and/or supervisory employee of

 9   Defendants who had a duty to Plaintiff to refrain fi•om discrimination and harassment and to take all

10   reasonable steps to prevent and correct unlawful discrimination and harassment in the workplace.
11           122.    Defendants harassed/discriminated against Plaintiff for using his accrued sick days, in

12   violation of California Labor Code § 246.5, Article I of the California Constitution and related statutes

13   by engaging in the course of conduct more fully set forth in the General A1legations stated above.
14           123.    As a result of Defendants' unlawful harassment of Plaintiff, Plaintiff has suffered and
15   continues to suffer (a) substantial liumiliation, serious mental anguish, and emotional and physical
16   distress; and (b) loss of past and future earnings, and employment benefits and opportunities, all on

17   account of which Plaintiff is entitled to coinpensatory damages. The exact amount and nature of such

18   damages exceeds the jurisdictional limits of this court, but are presently unknown to Plaintiff, who will

19   either seek leave to amend this Complaint upon ascertaining such infoniiation, or will prove the same at

20   the time of trial.
21           124.    As more fully set forth above, the disability harassment by Defendants was committed
22   intentionally, maliciously, wantonly, and oppressively, with a conscious disregard for Plaintiff's rights
23   and with the intent to vex, injure, punish, and ar;noy Plaintiff so as to cause the injuries sustained by
24   Plaintiff, which acts amounted to oppression and malice, as described in California Civil Code § 3294.
25   Plaintiff is therefore entitled to punitive or exemplary damages in an amount sufficient to punish and

26   make an example out of Defendants.
27   \\
28   \\


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 1                                       ELEVENTH CAUSE OF ACTION
 2                                         `VVRONGFUL TERIVIINATION
 3             AGAINST DEFENDANT NOURYON, CARLYLE OROUP AND DOES 1— 25
 4          125.       Plaintiff re-alleges and incorporates herein by this reference each and every allegation
 5   set forth in all previous paragraphs of the Complaint as if fiilly set forth herein.
 6          126.       Defendants violated the Fair Employment and Housing Act (FEHA), California
 7   Government Code § 12940 et seq. by wrongfully terminating Plaintiff's employment because of his age

 8   and disability.

 9          127.       The aforementioned acts of Defendants constitute wrongful termination in violation of

10   public policy.
11          128.       As a result of Defendants' wrongful conduct, Plaintiff has suffered and continues to
12   suffer from (a) substaiitial humiliation, serious mental anguish, emotional and physical distress, (b) loss
13   of past and future earnings, employment benefits and opportunities, which Plaintiff is entitled to as
14   compensatory damages. The exact amount and nature of such damages exceed the jurisdictional limits
15   of this court, but are presently unknown to Plaintiff, who will either seek leave to amend this Complaint
16   upon ascertaining such information or will prove the same at the time of trial.
17          129.       As more fully set forth above, the acts of Defendants were intentional, malicious,
18   wanton, and oppressive, with conscious disregard for Plaintiff's rights and witli the intent to vex, injure,
19   punish and annoy Plaintiff so as to cause the injuries sustained by Plaintiff, within the meaning of

20   California Civil Code § 3294. Plaintiff is therefore entitled to punitive or exemplary damages in an
21   amount sufficient to punish and make an example out of Defendants.
22                                       TWELFTH CAUSE OF ACTIOI®1
23                        INTENTIONAL INFLICTION OF EIVIOTIONAL DISTRESS
24                                        AGAINST ALL DEFENDANTS
25          130:       Plaintiff alleges and incorporates herein by this reference each and every allegation set
26   forth in all previous paragraphs of the Complaint.
27          131.       Defendar.ts engaged in age and disability discrimination, harassment and retaliation
28   against Plaintiff, and aided and abetted eacii other in engaging in illegal discrimination harassment, and


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 1 I retaliation thereby subjecting Plaintiff to the intentional infliction of emotional distress caused by such
 2 I discrimination and harassment in violation of California Government Code § 12940.
 3             132.   Defendants failed to take immediate and appropriate remedial action to respond to
 4   Plaintiff's complaints of discrimination and harassment.       Instead, Defendant NOURYON ignored
 5   Plaintiff's request that the behavior be dealt with and allowed Plaintiff to be subjected to retaliatory
 6 I action.
 7             133.   The acts of Defendants as described herein were extreme and outrageous and an abuse
 8 I of the authority and position of Defendants, and each of them. Such conduct was intended to cause

 9   severe emotional distress, or was done with conscious disregard for the probability of causing such
10   distress. Such conduct exceeded the inherent risks of employment and was not the sort of conduct
11   normally expected to occur in the worlcplace. Defendant NOURYON and their employees, the above-
12   named individual Defendants, abused their positions of authority toward Plaintiff, and engaged in
13   conduct intended to humiliate Plaintiff and convey the message that he were powerless to defend his
14   rights.
15             134.   As a proximate result of the aforementioned acts, Plaintiff has suffered embarrassment,
16 I anxiety, humiliation, serious mental anguish; and einotional and physical distress.          Plaintiff will

17   continue to suffer damages in a sum that exceeds the jurisdictional limits of this court, but is yet to be
18   ascertained.     Plairitiff will either seelc leave to amend this Complaint upon ascertaining such
19   information, or will prove the same at the time of trial.
20             135.   As more fully set forth above, the acts of Defendants were intentional, malicious,
21   wanton, and oppressive, with conscious disregard for Plaintiff's rights and with the intent to vex, injure,
22   punish, and annoy Plaintiff so as to cause the injuries sustained by Plaintiff, within the meaning of
23   California Civil Code § 3294. Plaintiff is therefore entitled to punitive or exemplary damages in an
24   ainount sufficient to punish and make an exainple out of Defendants.
25                                    TI-IIRTEl'vla3TH CAgJSE ®F ACTI®N
26                                                NEGLIGvNCE
27                                       AGALNST AI.,L I3EP'ENDA1`dTS
28       136.         Each of the above paragraphs contazned in this Coniplaint is hereby incorporated by


                                                      22
                                                 COit'dPLAIN'I
     Case 3:22-cv-00058-RBM-BLM Document 1-2 Filed 01/14/22 PageID.41 Page 27 of 60




     1       reference at this point as if set forth herein fiill at length.
     2    137.        In carrying out the above conduct, Defendants, and their employees and agents,
     3       breached the duty owed to Plaintiff to provide a workplace free from discrimination,
     4       harassment, and retaliation, and abused their positions of authority towards Plaintiff. Defendants
     5       also failed to use reasonable care toward Plaintiff in welfare and safety. Said conduct exceeded
     6       the inherent risks of employment and was not the sort of conduct normally expected to occur in
     7       the workplace.

      8   138.        Defendants, and their employees and agents knew, or should have known that the above

      9      conduct would cause Plaintiff serious emotional distress. As a proximate result of Defendants

     10      negligent conduct, Plaintiff suffered and will continue to suffer extreme humiliation,
     11      embarrassment, anxiety, mental anguish, and Lmotional distress in an amount according to

     12      proof.

     13                                         PRA-YINaR F®R RELIEF
a.
     14      WHEREFORE, Plaintiff prays for judgment against Defendants, and each of them, as follows:
     15      1.       Compensatory and actuai damages in an amount to be proven at the time of trial;

     16      2.       For costs of the'suit incurred herein;

     17      3.       For punitive and exemplaiy damages in an amount to be proven at the time of trial;

     18      4.       For reasonable attorneys' fees under the California Labor Code and all related statutes,

     19               including Cal. Labor Code § 1102.5, California Government Code § 12965(b); and Cal.

     20               Code of Civil Procedure § 1021;

     21      5.       For pre- and post judgment interest at the prevailing statutory rates;

     22      6.       A declaratory judgment that the practices complained of in this Complaint are unlawful

     23               under California law;
     24      7.       An iiijunction against Defendants, their officers, agents, successors, employees,
     25               representatives, and any and all person acting in concert with them from engage in each
     26               of the practices complained of in this Complaint; and
     27      8.       For such other relief as the court may deem proper,
     28


                                                      . 23 .
                              .                     COMPi.AINI'
 Case 3:22-cv-00058-RBM-BLM Document 1-2 Filed 01/14/22 PageID.42 Page 28 of 60




 1                                        DEl'✓IAND I+O12 JiJltY TRIAL
 2           Plaintiff hereby demands a jury trial for the causes of action set forth herein.
 3

 4     Dated: November 11, 2021                                 CANTOR LAW
                                                      A PROFESSIONAL LAW                 ORATION
 5

 6
                                            By:
 7                                                   ZACH       CANT , ESQ.,
                                                     Attor&f for Plaintiff DENNIS CRIMMINS
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Case 3:22-cv-00058-RBM-BLM Document 1-2 Filed 01/14/22 PageID.43 Page 29 of 60




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Case 3:22-cv-00058-RBM-BLM Document 1-2 Filed 01/14/22 PageID.44 Page 30 of 60

              STATE OF CALIFORNIA I Business Consumer Services and Housinn Aaencv                GAVIN NEWSOM GOVERNOR

     ~
     ~ •~`g
          °                                                                                          KEVIN KISH, DIRECTOR
f
              DEPARTMENT OF FAIR EMPLOYMENT & HOUSING
    ~j-       2218 Kausen Drive, Suite 100 1 Elk Grove I CA 195758
     1        (800) 884-1684 (Voice) 1(800) 700-2320 (TTY) I California's Relay Service at 711
              http://www.dfeh.ca.gov I Email: contact.center@dfeh.ca.gov



    August 3, 2021

    RE:       N®tice ®f Filing of Discrimination C®rnpBaint
              DFEH Matter Number: 202108-14357103
              Right to Sue: Crimmins / NOURYON SURFACE CHEMISTRY, LLC et al.

    To AII Respondent(s):

    Enclosed is a copy of a complaint of discrimination that has been filed with the
    Department of Fair Employment and Housing (DFEH) in accordance with Government
    Code section 12960. This constitutes service of the complaint pursuant to Government
    Code section 12962. The complainant has requested an authorization to file a lawsuit. A
    copy of the Notice of Case Closure and Right to Sue is enclosed for your records.

    This matter may qualify for DFEH's Small Employer Family Leave Mediation pilot
    program. Under this program, established under Government Code sectior. 12945.21,
    a small employer with 5-19 employees, charged with violation of the California Family
    Rights Act, Government Code section 12945.2, has the right to participate in DFEH's
    free voluntary mediation service. Under this program both the employee requesting an
    immediate right to sue and the employer charged with the violation may request that all
    parties participate in DFEH's free voluntary mediation service. A request for mediation
    must be made within 30 days of receipt of the Notice of Case Closure and Right to Sue.
    If inediation is requested, the employee is prohibited from filing a civil action until
    mediation is complete. The employee's statute of limitations to file a civil action,
    including for all refated claims not arising under section 12945.2, is tolled from DFEH's
    receipt of a mediation request under section 12945.21 until mediation is complete. To
    request DFEH Small Employer Family Leave Mediation, email
    DRDOnlinerequests@dfeh.ca.gov and includq the DFEH matter number indicated on
    the Right to Sue notice.

    Please refer to the aktached complaint for a list of all respondent(s) and their contact
    information.

    No response to DFEH is requested or required.

    Sincerely,


    ®epartment of Fair Err►p9oyment and Housing
Case 3:22-cv-00058-RBM-BLM Document 1-2 Filed 01/14/22 PageID.45 Page 31 of 60

               STATE OF CALIFORNIA I Business Consumer Services and Housina Aaencv                GAVIN NEWSOM GOVERNOR

                                                                                                      KEVIN KISH, DIRECTOR
Qf~15
               DEPARTMENT OF FAIR EMPLOYMENT & HOIJSING
               2218 Kausen Drive, Suite 100 I Elk Grove I CA 195758
               (800) 884-1684 (Voice) I(800) 700-232U (TTY) I California's Relay Service at 711
               http://www.dfeh.ca.gov I Email: contact.center@dfeh.ca.gov



        August 3, 2021

        Dennis Crimmins
        955 Hymettus Ave.
        Encinitas, California 92024

        RE:    N®tice ®fi Case CI®sure and Righ>p fo Sue
               DFEH Matter Number: 202108-14357103
               Right to Sue: Crimmins / NOURYON SURFACE CHEMISTRY, LLC et al.

        Dear Dennis Crimmins:

        This letter informs you that the above-referenced complaint filed with the Department of
        Fair Employment and !--lousing (DFEH) has been closed effective August 3, 2021
        because an immediate Right to Sue notice was requcsted.

        This letter is also your Right to Sue notice. According to Government Code section
        12965, subdivision (b), a civil action may be brought under the provisions of the Fair
        Employment and Housing Acfi against the person, employer, labor organization or
        employment agen:y named in the above-referenced complaint. The civil action must be
        filed within one year from the date of this letter.

        This matter may qualify for DFEH's Small Employer Family Leave Mediation pilot
        program. Under this program, established under Government Code section 12945.21, a
        small employer with 5-19 employees, charged with violation of the California Family
        Rights Act, Goverriment Code section 12945.2, has the right to participate in DFEH's
        free voluntary mediation service. Under this program both the employee requesting an
        immediate right to sue and the employer charged with the violation may request that all
        parties participate in DFEH's free voluntary mediation service. A request for mediation
        must be submifited to the DFEH within 30 days of receipt of the Notice of Case Closure
        and Right to Sue. If inediation is requested, the employee is prohibited from filing a civil
        action until mediation is complete. The employee's statute of limitations to file a civil
        action, including for all related claims not arising under section 12945.2, is tolled from
        DFEH's receipt of a mediation request under section 12945.21 until mediation is
        complete. To request ®FEH Smail Employer Fa~tiily Leave Mediation, email
        DRDOnlinerequests@dfeh.ca,gov and include the DFEH matter number indicated on
        the Right to Sue notice.

        To obtain a federal Right to Sue notice, you must contact the.U.S. Equal Employment
        Opportunity Commission (EEOC) to file a ccmplaint within 30 days of, receipt of this .
        DFEH Notice of Case Closure ; ~r withie~ 300 stays of thP alleged discriminatory act,
        whichever is earlier.

        Sincerely,
  Case 3:22-cv-00058-RBM-BLM Document 1-2 Filed 01/14/22 PageID.46 Page 32 of 60

                STATE OF CALIFORNIA I Business Consumer Sereices and Housina Aaencv                GAVIN NEWSOM GOVERNOR

                                                                                                       KEVIN KISH, DIRECTOR
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;~~.~ ►~, ~~.
                DEPARTMENT OF FAIR EMPLOVMENT & HOUSlNC
                2218 Kausen Drive, Suite 100 1 Elk Grove I CA 195758
           '    (800) 884-1684 (Voice) 1(800) 700-2320 (TTY) I California's Relay Service at 711
                http://wv,nv.dfeh.ca.gov I Email: con:act.cer.ter@dfeh.ca.gov




        Department of Fair Employment and Housing
Case 3:22-cv-00058-RBM-BLM Document 1-2 Filed 01/14/22 PageID.47 Page 33 of 60




 1                       COMPLAINT OF EMPLOYMENT DISCRIMINATION
                               SEFORE THE STATE OF CALIFORNIA
 2                     DEPARTMENT OF FAIR EMPLOYMENT AND HOUSING
                       Under the California Faor Employment and Housing Act
 3
                                   (Gov. Code, § 12900 et seq.)
 4
     In the Matter of the Complaint of
 5    Dennis Crimmins                                                 DFEH No. 202108-14357103

 6                                  Compiainant,
     vs.
 7

 8     NOURYON SURFACE CHENISTRY, LLC
       525 W. Van Buren Street
 9     Chicago, Illinois 60607

10     THE CARLYLE GROUP, INC.
       9073 NEMO ST
11     WEST HOLL`r'WOOD, California 90069

12     SUZANNE CARROLL
       525 W. Van Buren Street
13     Chicago, Illinois 60607
14     BAHAR AZIIVIIPOUR
       525 W. Van Buren Street
15
       Chicago, Illinois 60607
16
                                     Respondents
17

18
      1. Respondent NOURYON SURFACE CHEI►AISSRY, LLE is an erriployer NaURYON
19    SURFACE CHE1ViISTRY, LLC subject to suit ur:der the California Fair Employment and
      Housing Act (FEHA) (Gov. Code, § 12900 et seq.).
20
      2.Complainant is naming Th9E CARLYLE GROUP, iNC. business as Co-Respondent(s).
21
      Complainant is naming SUZANF31e CARROLL individual as Co-Respondent(s).
22    Complainant is namii-ig BAHAR A,ZIMiPOUR irc';vldual as Co-Respondent(s).

23    3.Complainant Dennis Crimrvaires, resides in the City of Encinitas, State of Ca9ifornia.

24
   4. Complainant alleges that on or about Februar;+ 26, 202'I, respondent took the
25 following adverse actions:
26

27                                                 -1-
                                            - DFEM .No. 202
28
     I Date Filed; August 3, 2021
Case 3:22-cv-00058-RBM-BLM Document 1-2 Filed 01/14/22 PageID.48 Page 34 of 60




     Complainant was harassed because of coirplainant's disability (physical or mental), age
     (40 and over), other, family care or medical leavc- (cfra).
 2
     Complainant was discriminated against because of complainant's disability (physical or
 3   mental), age (40 and over), other, family care or medical leave (cfra) and as a result of the
     discrimination was terminated, denied reasonable accommodation for a disability, denied
 4   work opportunities or assignments, denied family care or medical leave (cfra).
 5   Complainant experienced retaliation because complainant reported or resisted any form
     of discrimination or harassment, requested or used a disability-related accommodation,
 6
     requested or used family care or medical leave (cfra) and as a result was terminated, denied
 7   reasonable accommodation for a disability, other, denied work*opportunities or assignments,
     denied family care or medical leave (cfra).
 8

 9   Additional Complaint IJetails: The Complainant was denied of a work environment free
     from discrimination and harassment on the basis of the following protected categories,
10   including but not limited to: age, disability, association with member of protected class. He
     was differentially treated than similarly-situated non-disabled, younger employees.
11
     At all times relevant, herein Respondents, NOURYON SURFACE CHEPIlISTRY, LLC., et ai.
12   failed to prevent, correct, and/or remedy the Complainant's situation despite his complaints.
     They also failed to accommodate the Complainant's disability and to engage in the
13   interactive process of accommodation of a disability. Instead, the Complainant was
     retaliated against for cornplaining about the harass,m?nt. The Complainant was ultimately
14   wrongfully terminated because of his protecfied cl,aracteristics as mentioned above.
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     Date Filed: August 3, 2021
Case 3:22-cv-00058-RBM-BLM Document 1-2 Filed 01/14/22 PageID.49 Page 35 of 60




 1 VERIFICATIOIV

 2   I, Rodney IUresriani, am the Attorney in the above-entitled complaint. I have read
 3   the foregoing complaint and know the contents thereof. The matters alleged are
     based on information and belief, which I believe to be true.
 4
   On August 3, 2021, 1 declare under penalty of perjury under the laws of the State of
 5 California that the foregoing is true and correct.

 6                                                                  Santra Mcnica, Caiifornia
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                                  Complaint — CFEH tVo. 2a2908-143579
28 I Date
          Filed: August 3, 2021
           Case 3:22-cv-00058-RBM-BLM Document 1-2 Filed 01/14/22 PageID.50 Page 36 of 60
                                                                                                                                                                                              CM-010
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          1112 Montana Avenue, Suite C                                                                                                           5uperior Court +sf tsa!ifomia,
          SantaMonica, CA 90403                                                                                                                     O:ounty of 3an Diego
                 TELEPHONE NO.: 310.3 9 3 .6620                                      FAX NO.: 31 0    .393.6680
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                                                                                                                                                                          at 06:04:2 1 PI'1t
     ATTORNEY FOR (Name): PIa.~~ill DEL~1r1S CitLLV11v111~S
    SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN DIEGO                                                                                                i~`
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                                                                                                                                                                             r!Olirt
         STREETADDRESS: 330 W. BrOadWay                                                                                                        0y Taylor Crandall,C►eputy r!erk
        MAILING ADDRESS: 330 W. BrOad9VaY
            CITY AND ZIP CODE: Sa,n 1/le             Q9 C,A 92101
                   BRANCH NAME: CeI1~aI ~lvlsl©Yl
        CASE NAME:
        CRIMMINS v. NOURYON SURFACE CHEMISTRY, LLC, et al.
               CIVIL CASE COVER SHEET                                                      Complex Case Designation                         37-2021_0004g405-CU-1N'T-CTL
    ®            Unlimited     0                Limited
                                                                                   ~         Counter            ~       Joinder
                 (Amount                        (Amount
                                                                                                                                            JUDGE:
                 demanded                       demanded is                        Filed with first aPPearance bY defendant                           Judge 6ddie C Sturgeon
                 exceeds $25,000)               $25,000 or less)                       (Cal. Rules of Court, rule 3.402)                     DEPT:

                                                         I1CffIJ I —o uelUw /IYusL UC UUrnF1IC(CU (JCC I!!S(IUG(IUIIJ UII /Jdl/C L/.

           Check one box below for the case type that best describes this case:
           Auto Tort                                   Contract                                                                    Provisionally Complex Civil Litigation
                                                       0     Breach of contract/warranty (06)                                      (Cal. Rules of Court, rules 3.400-3.403)
           0     Auto (22)
                                                       I
          ~      Uninsured motorist (46)               LJ    Rule 3.740 collections (09)                                           0     Antitrust/Trade regulation (03)
           Other PI/PD/WD (Personal Injury/Property                            0           Other collections (09)                  0     Construction deFect (10)
           DamageNVrongful Death) Tort                                         0           Insurance coverage (18)                 0     Mass tort (40)
           0        Asbestos (04)                                                    Other contract (37)                           ~1 Securities litigation (28)
           0        Product liability (24)                                     Real Property                                       C~    Environmental/Toxic tart (30)
           0        Nledicai malpractice (45)                                  E:] Eminent domain/Inverse                          0     Insurance coverage claims arising from the
           0        Other PI/PDMiD (23)                                                    condemnation (14)                             above iisted provisionally complex case
                                                                      Wrongful eviction (33)                                             types (41)
           Non-PI/PD/!ND (Other) Tort                            0
                                                                      Other real property (26)                                     EnforSement of Judgment
           0        Busirtess tort/unfair business Fractice (07) ~
           0        Civil rights (08)                            Unlawful.Detainer                                                 0     Enforcement ofjudgment (20)
           0        Defamation (13)                                            ~           Commercial (31)                         ['Aiscellaneous Civil Complaint
           0        Fraud (16)                                                 0           Residential (32)                        ~     RICO (27)
           ~        Intellectual property (19)                                 ~           Drugs (38)                              ~     Other complaint (not specified above) (42)
           0        Professional negligence (25)                               Judicial Review                                     Miscellaneous Civil Petition
           0    Other non-PI/PDMJD tort (35)                                   0     Asset forfeiture (05)                         0     Partnership and corporate governance (21)
           Employment                                                          ~           Petitidn re: arbitration award (11)     =     Other petition (not specified above) (43)
           ~    Wrongful termination (36)                                      0           Writ of mandate (02)
           0        Other employment (15)                                      n           Other judicial review (39)
            This case                is        -1 is not            comp!ex under ru!e 3.400 of ;he California Rulzs of Ccurt. If the case is comp!ex, mark the
            factors requiring exceptional judicial management:
            a. 0        Large number of separate!y represented parties                                  d.           Large number of witnesses
            b.          Extensive motion practice raising difficu!t or novel                            e.           Coordination with re!ated actions pending in one or more courts
                        issues that will be time-consuming to resoive                                                in other counties, states, or countries, or in a federal court
            c.          Substantial amount of documentary evidence                                      f. []        Substantial postjudgrnent judicial supervision

    3. Remedies sought (check all that apply): a.©                                       monetary     b.0           nonmonatary; dec!aratory or injunctive re!ief                  c. 2]punitive
    4. Number of causes of action (specify): 14
~   5. This case         =.   is  F71 is not    a c!ass action suit.
    '6.     If there are any known re!ated cases, fi!e and serve a notice ef rslated case. (You may use for                                           CM-015.)

    Date: 11/15/21
    Zachary Cantor, Esq.                                                                                                               "~
                                          (TYPE OR PRINT NAME)                                                                     ~


        • Plaintiff must fi!e this cover sheet with the f!rst paper fi!ed in thE action or proceeding (except small claims cases or cases fi!ed
            under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to fi!e may result
            in sanctions.
          e File this cover sheet in addition to any cover sheet rzquired t,y !ocal court rulE.
        • If this case is comp!ex under rule 3.400 et seq, of the California Rules of Coutt, you must serve a copy of this cover sheet on all
          other parties to the action or proceeding.
        • Unless this is a collections case under ru!e 3.740 or a compiex case, this cover sheet will be used for statistical purposes on~age 1 oT 2
                                                                                                                                           .
                                                                                                                                                tlL RUICS UI    OUII, IUICS L.JU, J.LLU, J.4UU J. J,    I   ~,
          Tn Adopted for Mandatory Use                                             'T I          ~^                     +~
          Judicial Council of Califomia              ~                         '+" ''        ~-"~               ~     ~'~                              Cal. Standards of Judicial Administration, std. 3.10
          CM-010 [Rev. July 1, 20071                                                                    '                                                                             ivvr+v.courtinfo.ca.gov
                                                 .
     Case 3:22-cv-00058-RBM-BLM Document 1-2 Filed 01/14/22 PageID.51 Page 37 of 60

                                                                                                                                           CM-010
                                      INSTRUCTIOIVS ON HO'J!! TO COMPLETE THE COVER SHEET
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1.. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A"collections case" under rule 3.740 is defined as an action for recovery of money
owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in
which property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintifF believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintifP designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiffs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.
                                                         CASE TYPES APlD EXAln9PLES
Auto Tort                                       Contract                                           Provisionally Complex Civil Litigation (Cal.
    Auto (22)—Personal Injury/Property              Breach of ContractNVarranty (06)               Rules of Court Rules 3.400-3.403)
         Damage/Wrongful Death                          Breach of Rental/Lease                          AntitrustlTrade Regulation (03)
    Uninsured Motorist (46) (if the                         Contract (not ur,lawful detainer            Construction Defect (10)
         case involves an uninsured                            or wr©ngful eviction)                    Claims Involving Mass Tort (40)
         motorist claim subject to                      Contract/Warranty Breach—Se!ler                 Securities Litigation (28)
         arbitratlon, check this item                      P!aintiff (not fraud or negligence)          EnvironmentallToxic Tort (30)
         instead ofAuto)                                Negligent Breach of Contract/                   Insurance Coverage Claims
Other PI/PDIWD (Persoral Injury/                        . Warranty                                          (arising from provisionally complex
Property Damage/tJVrongful Deatli)                      Other t3reach of Contract/Warranty                    case type listed above) (41)
Tori                                                Collectiohs (z.g., monzy owed, open               Enforcement of Judgment
      Asbestos (04)                                     book accr,unts) (09)                              Enforcement of Judgment (20)
          Asbestos Properry Damage                      Co!lection Case—Se!1=r Plaintiff                      Abstract of Judgment (Out of
          Asbestos Personal Injury/                     Other Pron?issory Note(Collections                        County)
              Wrongful Death                                 Case                                             Confession of Judgment (non-
      Product Liability (not asbestos o            Insurance Coverage (noi provisionally                           domestic relations)
           toxic%nvironmental) (24)                     comp/ex) (18)                                         Sister State Judgment
    Medical Malpractice (45)                            Auto Subrogation                                      Administrative Agency Award
         Medical Malpractice—                           Other Coverage                                            (not unpaid taxes)
               Physicians & Surgeor.s              Other Ccntract (37)                                         Petition/Certification of Entry of
         Other Professional Health Care                 Contractual Fraud                                          Judgment on Unpaid Taxes
               Malpractice                              Other Contract Dispute                                 Other Enforcement of Judgment
                                                Real Property                                                       Case
    Other PI/PD/IND (23)
         Premises Liability (e.g., slip            Eminent Domain/Inverse                             Niiscellaneous Civil Complaint
               and fall)                               Condemnation (14)                                  RICO (27)
         Intentional Bodily Injury/PDMJD           Wrongful Evictien (33)                                 Other Complaint (not specified
                                                                                                               above) (42)
               (e.g., assault, vandalism)          Other Real Property (e.g., quiet title) (26)
         Intentional Infliction of                     Writ of Possession of Real Property                    Declaratory Relief Only
               Emotional Distress                                                                              Injunctive Relief Only (non-
                                                        tvlortgage Foreclosure
         Negligent Infliction of                                                                                   harassment)
                                                       Quiet Title                                            Mechanics Lien
               Emotional Distress                      Other Real Property (not eminent
         Other PI/PD/WD                                 danain, landlord4enant, or                            Other Commercial Complaint
                                                                                                                  Case (non-torbnon-complex)
Rfon-PI/PD/WD (Other) Tort                              foreclosure)
                                                                                                              Other Civil Complaint
    Business Tort/Unfair Business               Unlawful Detainer
                                                                                                                  (non-tort/non-complex)
        Practice (07)                              Commercial (31)                                    Nliscellareous Civil Petition
    Civil Rights (e.g., discrimination,            Residential (32)                                       Partnership and Corporate
        false arrest) (not civil                   Drugs (38) (if the case involves illegal                   Governance (21)
         harassment) (08)                               drugs, chzck this itern; otherwise,               Other Petition (not specified
    Defamation (e.g., slander, libel)                   report as Corrtnercial or Residential)                above) (43)
          (13)                                  Judicial Revie~:~                                             Civil Harassment
    Fraud (16)                                     Asset Forfeiture (05)                                      Workplace Violence
    Intellectual Property (19)                     Petition Re: Arbitrat:on Award (11)                        Elder/Dependent Adult
    Professional Negligence (25)                   Writ of N!andate (02)                                           Abuse
        Legal Malpractice                              1Nrit-Administrative Mandamus                          Election Contest
        Other Professional Malpractice                  Writ—lvlan:;amus on Limitad Court                     Petition for Name Change
               (notmedical orlegal)                         Case Matter                                       Petition for Relief From Late
      Other Non-PI/PD/WrJ Tort (35)                     W it—Qther Limited Court Case                              Claim
Employment                                                  Review                                            Other Civil Petition
   Wrongful Termination (36)                        Other Judicial Review (39)
   Other Employment (15)                                Review of Heaith OYicer Order
                                                        Notice of Appea!—Labor
                                                           Gammissioner Appea!s       _
CM-010 [RFv. July 1, 2007]            .                 s       ~ ~                               -                                  -        Pege 2 of 2
                                                    GI~Ve~. GA.~~ CO`<ER SHEET
   Case 3:22-cv-00058-RBM-BLM Document 1-2 Filed 01/14/22 PageID.52 Page 38 of 60


SUPERIOR COURT OF CALIFORNlA, CUUNTY OF SAN DlEGO
STREETADDRESS:       330 W Broadway
MAILING ADDRESS:     330 W Broadway
CITY AND ZIP CODE:   San Diego, CA 92101-3627
DIVISION:            Central
TELEPHONE NUMBER: (619) 450-7067                                            .


PLAINTIFF(S) / PETITIONER(S):              Dennis Crimmins

DEFENDANT(S) / RESPONDENT(S): Nouryon Surface Chemistry LLC et.al.


 CRIMMINS VS NOURYON SURFACE CHEMISTRY LLC [IMAGED]
 NOTICE OF CASE ASSIGNIVIENT AND CASE MANAGEMENT CONFERENCE                                   CASE NUMBER:
                                                 (CIVIL)                                       37-2021-00048405-CU-WT-CTL


CASE ASSIGNED FOR ALL PURI'OSES TO:
Judge: Eddie C Sturgeon                                                               Department: C-67


COftiliRLAINT/RETITION FILED: 11/15/2021


TYPE OF HEARiING SCHEDULED                           DATE          Tih!!E           DEPT               JUDGE
Civil Case Management Conference                     08/05/2022    10:30 am         C-67               Eddie C Sturgeon


Due to the COVID-19 pandemic, all Case IVlanagement Conferences (CNiCs) are being conducted virtually unless there is a
court order stating otherwise. Prior to the hearing date, visit the "virtual hearings" page for the most current instructions on how to
appear for the applicable case-type/department on the court's website at www.sdcourt.ca.gov.

A Case Management Statemen.t (JC Form #CM-110) must be compiated by couiisel for all parties and by all self-represented litigants
and timely filed with the court at least 15 days prior to the initial CN1C. (San Diego Superior Court (SDSC) Local Rules, rule 2.1.9; Cal.
Rules of Court, rule 3.725).

AII counsel of record and self-represented litigants must appear at the CMC, be familiar with the case, and be fully prepared to
participate effectively in the hearing, inciuding discussions of Alternative Dispute Resolution (ADR) options.

It is the duty of each plaintiff (and cross-complainant) to serve a copy of this Notice of Case Assignmant and Case Management
Conference (SDSC Form #CIV-721) with the complaint (and cross-complaint), the Alternative Dispute Resolution (ADR) Information
Form (SDSC Form # CIV-730), a Stipulation to Use Alternative Dispute Resolution (ADR) (SDSC Form # CIV-359), and other
documents on all parties to the action as set out in SDSC Local Rules, rule 2.1.5.
TIME FOR SERVICE AND RESPONSE: The following rules apply to civil cases except for collections cases under California Rules of
Court, rule 3.740(a), unlawful detainer actions, proceedings under tre Family Code, and other proceedings for which different service
requirements are prescribed by iaw (Cal. Rufes of Court, rule 3.110; SDSC Local Rules, rule 2.1.5):
   • Service: The complaint must be served on all named defendants, and proof of service filed with the court within 60 days after
      filing the complaint. An amended complaint adding a defendant must be served on the added defendant and proof of service
      filed within 30 days after filing of the amended complaint. A cross-complaint against a party who has appeared in the action
      must be accompanied by proof of service on that party at the time it is filed. If it adds a new party, the cross-complaint must be
      served on all parties and proof of service on the new party must be filed within 30 days of the fiiing of the cross-complaint.
   • Defendant's appearance: Unless a special appearance is made, each defendant served must generally appear (as defined in
       Code of Civ. Proc. § 1014) within 30 days of service of the complaint/cross-complaint.
   • Extensions: The parties may stipulate without leave of court to Qne 15-day extension beyond the 30-day time period prescribed
      for the response after service, of the initial complaint (SDSC Local Rufes, rule 2.1.6). if a party fails to serve and file pleadings
      as required under this rule, and has not obtained an order extending time to serve iis pleadings, the court may issue an order to
      show cause why sanctions shall not be imposed.

JURY FEES: In order to preserve the right to a jury trial, one party for eacti sid2 demanding a jury trial shall pay an advance jury fee in
the amount of one hundred fifty dollars ($150) on or before the Jate scheduled for the initial case management conference in the
action.

COURT REPORTERS: Official Court Reaorters are not normaily avaifable in civil matters,. but may be requested in certain situations
no later than 10 days before the hearing date. See SDSC Local Rules, rule 1.2.3 arid Policy Regarding Normal Availability and
Unavailability of Official Court Reporters (SDSC Form #ADM-317) for further irrformation.
ALTERNATIVE DISPUTE RESOLUTION LDR.I: The court discourages any unnecessary delay in civil actions; therefore,
continuances are discouraged and.timely resolu+ion of all actions, including submifting to any form of ADR is encouraged. The court .
encourages and expects the parties to conside: usiiig ADR optiona prirr to the CMC. The use of ADR will be discussed at the CMC.
Prior to the CMC, parties stipulating to the ACfFt process may file the Stipulation to Use Alternative Dispute Resolution (SDSC Form
#CIV-359).

SDSC CIV-721 (Rev. 04-21)                                                                                                        Page:1
                                  NOTICE O+F C:ASE AS~.~RIC~il4ilsIENT AND I~A.r3L MANAGE'MENT CONFEREN('.E
                                                                        (CIV1L)
        Case 3:22-cv-00058-RBM-BLM Document 1-2 Filed 01/14/22 PageID.53 Page 39 of 60



                                             N®TBCE ®F L=F!@.&NG REQL9lREMENTS
                                                 AND 8MAGED DOCUMENTS


    Effective April 15, 2021, e-filing is required for attorneys in represented cases in all limited and unlimited civil cases, pursuant to the San
    Diego Superior Court General Order: In Re Procedures Regarding Electronically Imaged Court Records, Electronic Filing and Access to
    Electronic Court Records in Civil and Probate Cases. Additionally, you are encouraged to review CIV-409 for a listing of documents that
    are not eligible for e-filing. E-filing is also encouraged, but not mandated, for self-represented litigants, unless otherwise ordered by the
    court. AII e-filers are required to comply with the e-filing requirements set forth in Electronic Filing Requirements (Civil) (SDSC Form
    #CIV-409) and Cal. Rules of Court, rules 2.250-2.261.

    AII Civil cases are assigned to departments that are part of the court's "Imaging Program." This means that original documents filed with
    the court will be imaged, held for 30 days, and then destroyed, with the exception of those original documents the court is statutorily
    required to maintain. The electronic'copy of the filed document(s) will be the official court record, pursuant to Government Code § 68150.
    Thus, original documents should not be attached to pleadings filed with the San Diego Superior Cburt, unless it is a document for which
'   the law requires an original be filed. Any original documents necessary for a motion hearing or trial sha11 be lodged in advance of the
    hearing pursuant to California Rules of Court, rule 3.1302(b).

    It is the duty of each plaintiff, cross-complainant, or petitioner to serve a copy of this Notice of Case Assignment and Case Management
    Conference (Civil) (SDSC Form #CIV-721) with the complaint, cross-complaint, ot petition on all parties to the action.

    On all pleadings filed af'rer the initial case originating filing, all parties must, to the extent if is feasible to do so, place the words "IMAGED
    FILE" in all caps immediately under the title of the pleading on all subsequent pleadings filed in the action.

    The official court file will be electronic and accessible at ona of the kiosks located in the Civil Business Office and may be found on the
    court's website at wvnw.sdcourt.ca.qov.




                                                                                                                                             Rage:2
Case 3:22-cv-00058-RBM-BLM Document 1-2 Filed 01/14/22 PageID.54 Page 40 of 60




                        Exhibit 2
      Case 3:22-cv-00058-RBM-BLM Document 1-2 Filed 01/14/22 PageID.55 Page 41 of 60




                                                                                                                         null / ALL
                                                                                                     Transmittal Number: 24212734
Notice of Service of Process                                                                            Date Processed: 12/16/2021

Primary Contact:           Kumiko Jovanovich
                           Nouryon Chemicals LLC
                           131 S Dearborn St
                           Ste 1000
                           Chicago, IL 60603-5566

Electronic copy provided to:                   Robin LePore

Entity:                                       Nouryon Surface Chemistry LLC
                                              Entity ID Number 3520319
Entity Served:                                Nouryon Surface Chemistry, LLC
Title of Action:                              Dennis Crimmins vs. Nouryon Surface Chemistry, LLC
Document(s) Type:                             Summons/Complaint
Nature of Action:                             Discrimination
Court/Agency:                                 San Diego County Superior Court, CA
Case/Reference No:                            37-2021-00048405-CU-WT-CTL
Jurisdiction Served:                          California
Date Served on CSC:                           12/16/2021
Answer or Appearance Due:                     30 Days
Originally Served On:                         CSC
How Served:                                   Personal Service
Sender Information:                           Cantor Law
                                              310-393-6620

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com
    Case 3:22-cv-00058-RBM-BLM Document 1-2 Filed 01/14/22 PageID.56 Page 42 of 60



                                                    S V 9VIEtl'AON S                                                            FOR COURT USE ONLY
                                                                                                                            (SOLO PARA USO DE LA CORTE)
                                             (CITACIOIV JUDIC/AL)
                                                                                                                         ELECTRtIta1CALLY FILED
                                                                                                                          Superiar Gourt af Dalifamia,
NOTICE TO DEFENDANT:            "Additional Parties                                                                           County of San Diega
(AVISO AL DEMANDADO):           Attachment form is attached."
                                                                                                                           I I M 520211 at 06:o4:2t PM
NOURYON SURFACE CHEMISTRY, LLC, a California Limited Liability Company; THE CARLYLE
                                                                                                                           Clerk rf the Supefior Ccaurt
GROUP, INC., a California Corporation; CHARLIE SHAVER; an Individual;                                                    gy Taykrr Crandall,Deputy Clerk
YOU ARE BEING SUED BY PLAINTIFF:
(LO ESTA DEMANDANDO EL DEMANDANTE):
DENNIS CRIMMINS, an Individual;
                                              may oecloe agalnst you wltnout your being nearo unless you
 be[ow.
    You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
 served on the plaintiff. A letter or phone call v✓ill not protect you. Your written response must be in proper legal form if you want the court to hear your
 case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
 Online Self-Help Center (wvw✓.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the fi[ing fee, ask the
 court c[erk for a fee waiver form. If you do not fi[e your response on time, you may lose the case by defau[t, and your wages, money, and property may
 be taken without further warning from the court.
    There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attomey
 referral service. If you cannot afford an attorney, you may be e[igib[e for free legal services from a nonprofit legal services program. You can locate
 these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifomia.org), the California Courts Online Self-Help Center
 (www.courtinfo.ca.gov/se/fhe/p), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
 costs on any sett[ement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
 iAVISO! Lo han demandado. Si no responde dentro de 30 dias, la corte puede decidir en su contra sin escuchar su versidn. Lea /a informacidn a
 continuaci6n.
   Tiene 30 DIAS DE CALENDAR/O despues de que /e entreguen esta citacion y papeles /ega/es para presentar una respuesta por escrito en esta
 corte y hacer que se entregue una copia al demandante. Una carta o una llamada te/efdnica no lo protegen. Su respuesta por escrito tiene que estar
 en formato legal correcto si desea que procesen su caso en la corte. Es posib/e que haya un formulario que usted pueda usar para su respuesta.
Puede encontrar estos formularios de la corte y mas informacidn en el Centro de Ayuda de las Cortes de Califomia (www.sucorte.ca.gov), en /a
biblioteca de /eyes de su condado o en /a corte que /e quede rnas cerca. Si no puede pagar!a cuota de presentacidn, pida a/ secretario de /a corte que
le de un formulario de exencidn de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la corte /e podra
quitar su sueldo, dinero y bienes sin mas advertencia.
    Hay otros requisitos legales. Es recomendable que llame a un abogado inmediatamenle. Si rio conoce a un abogado, puede llamar a un servicio de
 remisidn a abogados. Si no puede pagar a un abogado, es posib/e que cump/a con /os requisitos para obtener servicios lega/es gratuitos de un
 programa de servicios /ega/es sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de Califomia Lega/ Services,
 (www.la~vhelpcalifornia.org), en el Centro de Ayuda de /as Cortes de Califomia, (www.sucorte.ca.gov) o poniendose en contacto con /a corte o el
 colegio de abogados /ocales. AVISO: Por /ey, /a corte tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sobre
 cua/quier recuperacion de $10,000 d mas de valor recibida mediante un acuerdo o una concesidn de arbitraje en un caso de derecho civil. Tiene que
 pagar e/ gravamen de la corte antes de que /a corte pueda desechar e/ caso.
The name and address of the court is:
(El nombre y direccidn de la corte es): San Diego Superior Court                                           ~+~-~~~1-0~~~4~'~-~U-~JUT- CTL
330 W. Broadway
San Diego, CA 92101
The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is: (EI nombre, la direccion y el nGmero
de telefono del abogado del demandanta, o de/ demandante que no tiene abogado, es):
ZACHARY CANTOR (SBN 270507), 1112 Montana Avenue, Suite C, Santa Monica, CA 90403                                          /~~
DATE:           1 11.ID~OZ.1                                                                Clerk, by               ~~"O~                      —         Deputy
                                                                                                                           T. Cranda[I                  (Adjunto)
(Fecha)                                                                                     (Secretario)
(For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
(Para prueba de entrega de esta citatidn use el formulario Proof of Service of Summons, (POS-010).)
                                 NOTICE TO THE PERSON SERVED: You are served
 [SEAL]
                                               1.    =    as an individual defendant.
                                               2.    =    as the person sued under the fictitious name of (specify):

                                               3.    [A   on behalf of (specify):                               , Callfoinia~Limited-LiabilitY ComPanY
                                                                              ~—Nouryon Sutface Ch`emistrY,-L-LC-a
     k                             ~   ;
                                                     under: 0    CCP 416.10 (corporation)                              CCP 416.60 (minor)
                                                                 CCP 416.20 (defunct corporation)                      CCP 416.70 (conservatee)

         '~~~ •,f~'~F' ~~f.^ .:,':~:ik:~~~
                                                           ~
                                                           0
                                                                 CCP 416.40 (association or partnership)
                                                                 other (specify):
                                                                                                             0         CCP 416.90 (authorized person)


                                              4.     =    by personal delivery on (date)                                                                   Paqe 1 of 1
Form Adopted for Mandatory Use                                              SUMMONS                                              Code of Civil Procedure §§ 412.20, 465
Judicial Council of Califomia .                                                                                                                      www.courts.ca.gov
SUM-100 [Rev. July 1, 2009]                    ,
     Case 3:22-cv-00058-RBM-BLM Document 1-2 Filed 01/14/22 PageID.57 Page 43 of 60

                                                                                                                          SUflA-200 A
 SHORT TITLE:                                                                                cASE NUMeER:
 CRIMMINS v. NOURYON SURFACE CHEMISTRY, LLC, et al.


                                                       INSTRUCTIONS FOR USE
 aThis form may be used as an attachment to any summons if space does not permit the listing of all parties on the summons.
~ If this attachment is used, insert the following statement in the plaintiff or defendant box on the summons: "Additional Parties
  Attachment form is attached."

List additional parties (Check on/y one box. Use a separate page for each type of party.):

   0   Plaintiff F—x-1 Defendant      =    Cross-Complainant       0    Cross-Defendant
SUZANNE M. CARROLL, an Individual; BAHAR AZIMIPOUR, an Individual; and DOES 1 through 25, Inclusive,




                                                                                                               Page           of
                                                                                                                                   Paae 1 of 1

 ponnAdoptedforMandatoryUse                  ADDITIONAL. PARTIES ATTACHMEIVT
  Judicial Council of Califomia
SUM-200(A) [Rev. January 1, 2007]                     Attachmen't to Summons
Case 3:22-cv-00058-RBM-BLM Document 1-2 Filed 01/14/22 PageID.58 Page 44 of 60




                        Exhibit 3
                                                                                                                                                        POS-010
             Case 3:22-cv-00058-RBM-BLM Document 1-2 Filed 01/14/22 PageID.59FORPage
 ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address)              45ONLY
                                                                                COURT USE  of 60
    Zachary Cantor, Esq. | SBN: 270507
    Cantor Law
    1112 Montana Ave. Suite C Santa Monica, CA 90403
   TELEPHONE NO.: (310) 393-6620 | FAX NO. (310) 393-6680
   E-MAIL ADDRESS
    ATTORNEY FOR (Name): Plaintiff: Dennis Crimmins, an Individual;

 SAN DIEGO COUNTY SUPERIOR COURT
         STREET ADDRESS:    330 West Broadway
         MAILING ADDRESS:

         CITY AND ZIP CODE: San   Diego, CA 92101
             BRANCH NAME: SAN      DIEGO - HALL OF JUSTICE
      PLAINTIFF: Dennis Crimmins, an Individual                                                           CASE NUMBER:

                                                                                                             37-2021-00048405-CU-WT-CTL
   DEFENDANT: Nouryon Surface Chemistry, LLC, a California Limited Liability Company;
                      et.al.
                                                                                                          Ref. No. or File No.:
                                         PROOF OF SERVICE OF SUMMONS                                                              Crimmins
1. At the time of service I was at least 18 years of age and not a party to this action.
2. I served copies of:

    a.      Summons
    b.      Complaint
    c.       Alternative Dispute Resolution (ADR) package
    d.      Civil Case Cover Sheet
    e.       Cross-complaint
    f.      other (specify documents): Notice of Case Assignment and Case Management Conference; Notice of E-Filing
             Requirements and Imaged Documents.
3. a. Party served (specify name of party as shown on documents served):
    Nouryon Surface Chemistry, LLC, a California Limited Liability Company
    b.      Person (other than the party in item 3a) served on behalf of an entity or as an authorized agent (and not a person under
             item 5b on whom substituted service was made) (specify name and relationship to the party named in item 3a):
         CSC - Lawyers Incorporating Service - Registered Agent for Service of Process
                               Age: 31-35 Weight: 260 Hair: Black Sex: Female Height: 6'0" Eyes: Brown Race: African American
4. Address where the party was served: CSC - Lawyers Incorporating Service
                                                        2710 Gateway Oaks Dr Ste 150N
                                                        Sacramento, CA 95833-3502
5. I served the party (check proper box)
   a.    by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to
          receive service of process for the party (1) on (date): 12/16/2021 (2) at (time): 2:17 PM
    b.       by substituted service. On (date): at (time): I left the documents listed in item 2 with or
             in the presence of (name and title or relationship to person indicated in item 3b):
             (1)        (business) a person at least 18 years of age apparently in charge at the office or usual place of business of the
                        person to be served. I informed him of her of the general nature of the papers.
             (2)        (home) a competent member of the household (at least 18 years of age) at the dwelling house or usual place of
                        abode of the party. I informed him or her of the general nature of the papers.
             (3)        (physical address unknown) a person at least 18 years of age apparently in charge at the usual mailing address
                        of the person to be served, other than a United States Postal Service post office box. I informed him of her of the
                        general nature of the papers.
             (4)        I thereafter mailed (by first-class, postage prepaid) copies of the documents to the person to be served at the
                        place where the copies were left (Code Civ. Proc., §415.20). I mailed the documents on
                        (date): from (city):                                                 or    a declaration of mailing is attached.
             (5)        I attach a declaration of diligence stating actions taken first to attempt personal service.




                                                                                                                                                          Page 1 of 2
Form Approved for Mandatory Use                                                                                                      Code of Civil Procedure, § 417.10
Judicial Council of California                                  PROOF OF SERVICE OF SUMMONS
POS-010 [Rev. January 1, 2007]                                                                                                               POS010-1/243375
            Case 3:22-cv-00058-RBM-BLM
          PETITIONER: Dennis Crimmins, an Individual             Document 1-2 Filed 01/14/22 PageID.60   Page 46 of 60
                                                                                                CASE NUMBER:

                                                                                                                37-2021-00048405-CU-WT-CTL
      RESPONDENT: Nouryon Surface Chemistry, LLC, a California Limited Liability Company; et.al.


     c.         by mail and acknowledgment of receipt of service. I mailed the documents listed in item 2 to the party, to the address
                shown in item 4, by first-class mail, postage prepaid,
                (1) on (date):                                                (2) from (city):
                (3)        with two copies of the Notice and Acknowledgment of Receipt and a postage-paid return envelope addressed to me.
                           (Attach completed Notice and Acknowledgement of Receipt.) (Code Civ. Proc., § 415.30.)
                (4)    to an address outside California with return receipt requested. (Code Civ. Proc., § 415.40.)
     d.         by other means (specify means of service and authorizing code section):



           Additional page describing service is attached.
6. The ''Notice to the Person Served'' (on the summons) was completed as follows:

     a.         as an individual defendant.
     b.         as the person sued under the fictitious name of (specify):
     c.         as occupant.
     d.        On behalf of (specify): Nouryon Surface Chemistry, LLC, a California Limited Liability Company
                under the following Code of Civil Procedure section:
                                   416.10 (corporation)                            415.95 (business organization, form unknown)
                                   416.20 (defunct corporation)                    416.60 (minor)
                                   416.30 (joint stock company/association)        416.70 (ward or conservatee)
                                  416.40 (association or partnership)             416.90 (authorized person)
                                   416.50 (public entity)                          415.46 (occupant)
                                                                                   other:

7. Person who served papers
   a. Name: Krystalyn Souza - ON-CALL LEGAL
   b. Address: 2476 Overland Avenue, Third Floor Los Angeles, CA 90064
   c. Telephone number: (310) 858-9800
   d. The fee for service was: $ 155.23
   e. I am:

          (1)    not a registered California process server.
          (2)       exempt from registration under Business and Professions Code section 22350(b).
          (3)       registered California process server:
                  (i)      owner                 employee             independent contractor.
                  (ii) Registration No.: PS-047
                  (iii) County: Yuba

8.        I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.
           or
9.         I am a California sheriff or marshal and I certify that the foregoing is true and correct.



                Date: 12/21/2021
                ON-CALL LEGAL
                2476 Overland Avenue, Third Floor
                Los Angeles, CA 90064
                (310) 858-9800
                www.OnCallLegal.com



                                 Krystalyn Souza
                      (NAME OF PERSON WHO SERVED PAPERS/SHERIFF OR MARSHAL)




POS-010 [Rev January 1, 2007]                                                                                                            Page 2 of 2
                                                          PROOF OF SERVICE OF SUMMONS
                                                                                                                                  POS-010/243375
Case 3:22-cv-00058-RBM-BLM Document 1-2 Filed 01/14/22 PageID.61 Page 47 of 60




                        Exhibit 4
Case 3:22-cv-00058-RBM-BLM Document 1-2 Filed 01/14/22 PageID.62 Page 48 of 60




                            IN THE UNITED STATES DISTRICT COURT
                              SOUTI{ERN DISTRICT OF CALTFORNIA

    DENMS CRIMMTNS,                                   )     Case No.
                                                      )
           Plaintiff,                                 )     Judge
                                                      )
                       Y.                             )
                                                      )
    NOT]RYON ST,RFACE CIIEMISTRY,                     )
    LLC, et aI.,                                      )
                                                      )
           Defendants.                                )

        DECLARATION OT'JET RNY W. S'SRGUSON IN STIPPORT OF NOTICE OF
                                RMMOYAL

          I, Jeffrey W. Ferguson, in accordance with 28 U.S.C.      \   1746, declare as follows:

          1"       I    am General Counsel    &   Managing Director       for The Carlyle Group-     Inc.

   ("Carlyle"). I am over twenty-one years of age and am competent to give this Declaration, which

   is based upon personal kaorvledge. information, and     beliei or information I know to be trued based

   on my position with Carlyle. I give this Declaration in connection with the captioned case and for

   no other purpose.

          2.       Carll'le is incorporated in the State of Dela*-are and maintains its principal place of

   business in Washington, DC.

          3.       In October 2018. multiple private equity' investment funds that are managed         b5,


   direct and/or indirect subsidiaries of Carlyle acquired Akzo Nobel N.V.'s Specialty Chemicals

  business and subsequently renamed it ''Nouryon." Defendant Nouryon SurJace Chemistry, LLC is

  a wholly owned subsidiary of the Nouryon parent entity that i,l,as acquired by Carlyle-managed

  private equity investment funds.

          4.       I declare under penalty of perjur5,'that the foregoing is true and corect.




                                                Page 1    of2
Case 3:22-cv-00058-RBM-BLM Document 1-2 Filed 01/14/22 PageID.63 Page 49 of 60




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                                    Page2 of2
Case 3:22-cv-00058-RBM-BLM Document 1-2 Filed 01/14/22 PageID.64 Page 50 of 60




                        Exhibit 5
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                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF CALIFORNIA

  DENNIS CRIMMINS,                                 )   Case No.
                                                   )
         Plaintiff,                                )   Judge
                                                   )
                 v.                                )
                                                   )
  NOURYON SURFACE CHEMISTRY                        )
  LLC, et al.,                                     )
                                                   )
         Defendants.                               )

      DECLARATION OF MEG JONES IN SUPPORT OF NOTICE OF REMOVAL

        I, Meg Jones, in accordance with 28 U.S.C. § 1746, declare as follows:

        1.      I am General Counsel – Performance Formulations and Americas for Nouryon

 Legal Group. I am over twenty-one years of age and am competent to give this Declaration, which

 is based upon personal knowledge, information, and belief, or information I know to be trued based

 on my position with Nouryon Legal Group. I give this Declaration in connection with the captioned

 case and for no other purpose.

        2.      Nouryon Surface Chemistry LLC is a limited liability company whose sole member

 is Nouryon Chemicals LLC.

        3.      Nouryon Chemicals LLC is a limited liability company whose sole member is

 Nouryon USA LLC.

        4.      Nouryon USA LLC is a limited liability company whose members include:

                      a. Nouryon US Holding 1 Inc., which is incorporated in the State of Delaware

                         and maintains its principal place of business in Pennsylvania;

                      b. Nouryon US Holding 2 Inc., which is incorporated in the State of Delaware

                         and maintains its principal place of business in Pennsylvania; and


                                             Page 1 of 2
Case 3:22-cv-00058-RBM-BLM Document 1-2 Filed 01/14/22 PageID.66 Page 52 of 60




                  c. Nouryon US Holding 4 Inc., which is incorporated in the State of Delaware

                      and maintains its principal place of business in Pennsylvania.

        5.     Plaintiff Dennis Crimmins is a former employee of Defendant Nouryon Surface

 Chemistry LLC whose employment ended on or about February 26, 2021. At the time his

 employment with Nouryon Surface Chemistry LLC ended, Plaintiff’s annual base salary was One

 Hundred Sixty-Nine Thousand Ninety-Nine Dollars ($169,099.00).

        6.     I declare under penalty of perjury that the foregoing is true and correct.

 Executed this 11th day of January, 2022.


                                              /s/ Meg Jones
                                              MEG JONES




                                            Page 2 of 2
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                        Exhibit 6
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  Shujun Qiu v. Three Rivers Provider Network Inc; 2019 Jury Verdicts LEXIS 125757
                                                37-2017-00035446-CU-WT-CTL
                                                         October 15, 2019

Headline:    Employee claimed she was fired for being a whistleblower

Topic: Employment - Retaliation - Employment - Whistleblower - Contracts - Breach of Contract - Employment - Wrongful
Termination

Injury: mental/psychological, anxiety, insomnia, depression, emotional distress

Practice Area: Labor and Employment Law

State: California

Court: Superior Court of San Diego County, San Diego

Plaintiff Counsel
Justin O. Walker
Firm Name: Walker Law Group
Address: San Diego, CA
Plaintiff Name: (Shujun Qiu)
Jared A. Veliz
Firm Name: Walker Law Group
Address: San Diego, CA
Plaintiff Name: (Shujun Qiu)

Defendant Counsel
Richard B. Azada
Firm Name: Jackson Lewis
Address: Irvine, CA"
Michael A. Hood
Firm Name: Jackson Lewis
Address: Irvine, CA"

Judge: John S. Meyer

Case Summary
On Aug. 25, 2017, plaintiff Shujun Qiu, a corporate treasurer for Three Rivers Provider Network Inc., was terminated from her
position. Qiu was hired by Three Rivers to act as its controller in April 2017. Qiu claimed that she and the company entered
into a contract that stated that Qiu was employed at-will, but that if she was terminated, she would be provided 30 days' notice.
Qiu was later made the company's corporate treasurer, but she was terminated after five months. Qiu claimed that she was
terminated in retaliation for being a whistleblower and reporting sexual harassment of another employee. In addition, she
claimed that she was terminated without being give 30 days' notice. Qiu sued Three Rivers Provider Network Inc., alleging that
the company's actions constituted a breach of contract, wrongful termination and whistleblower retaliation. She also alleged

                                                       Ashleigh Kasper
  Case 3:22-cv-00058-RBM-BLM Document 1-2 Filed 01/14/22 PageID.69 Page 55 of 60
                                                                                                                     Page 2 of 3
                      Shujun Qiu v. Three Rivers Provider Network Inc; 2019 Jury Verdicts LEXIS 125757

that the company's actions constituted violations of the Labor Code and the Business and Professions Code. Qiu claimed that
she was terminated in retaliation for disclosing illegal conduct by the company's founder and owner. She claimed that the
owner asked her to liquidate a subsidiary bank account, which she believed was illegal, and that she was terminated for
disclosing the request to management and refusing to liquidate the account. She further claimed that the company terminated
her because it believed that she would report the illegal conduct to authorities. Qiu claimed that another reason for her
termination was because she complained to human resources about the owner's alleged sexual harassment of another employee.
Qiu further claimed that she was not given 30 days' notice before her termination and that, at the time of her termination, no
payment was provided to her in lieu of such notice. In addition, Qiu claimed that the company's chief executive officer asked
her to sign a waiver and release of her claims and initially refused to pay her final wages owed unless she signed the document.
She claimed that when she refused and drew attention to the CEO's attempts, the CEO attempted to get her to sign a
confidentiality agreement that, she claimed, said she was aware of no "accounting irregularities nor [had she] reported any."
Qiu admitted that Three Rivers ultimately paid her the final wages owed, but she claimed that she was only paid approximately
one week after she sued. Defense counsel argued that Qiu never reported sexual harassment and that Qiu was not a
whistleblower, as the alleged conduct she was asked to engage in was neither illegal nor did Qiu believe it to be illegal. Instead,
defense counsel contended that Three Rivers lawfully terminated Qiu because it eliminated her position and outsourced her job
duties. Counsel also contended that Qiu was terminated because the company did not trust her.

   Injury Text:      Qiu claimed that she excelled at her job and that she was given a raise and made the company's corporate
treasurer. She also claimed there were no complaints about her job performance prior to her termination. Qiu claimed she
suffers from emotional distress, including sleeplessness, anxiety and depression. Qiu sought recovery of past and future lost
earnings, and damages for her emotional distress. She also sought recovery of punitive damages against Three Rivers for the
conduct she endured.

  Trial Length        7 days

  Jury Deliberation        2 days

  Insurer:

   Plaintiff Amounts:        (<B>Shujun Qiu</B>$400,000 Personal Injury: Punitive Exemplary Damages$354,234 Personal
Injury: Past Lost Earnings Capability$800,000 Personal Injury: FutureLostEarningsCapability$1,500,000 Personal Injury: Past
Pain And Suffering$1,000,000 Personal Injury: Future Pain And Suffering$17,118 Personal Injury: Labor Code waiting time
penalties$1,050 Personal Injury: breach of contract)

Plaintiff Expert(s)
Anthony E. Reading, Ph.D.
Address: Beverly Hills, CA
Specialty: Psychology/Counseling
Anthony E. Reading, Ph.D.
Address: Beverly Hills, CA
Specialty: Psychology/Counseling
Heather H. Xitco, C.P.A., L.E.C.G.
Address: San Diego, CA
Specialty: Economics
Heather H. Xitco, C.P.A., L.E.C.G.
Address: San Diego, CA
Specialty: Economics

Award: $ 4,072,402

                                                        Ashleigh Kasper
  Case 3:22-cv-00058-RBM-BLM Document 1-2 Filed 01/14/22 PageID.70 Page 56 of 60
                                                                                                                    Page 3 of 3
                        Shujun Qiu v. Three Rivers Provider Network Inc; 2019 Jury Verdicts LEXIS 125757

Award Details:           The jury found in favor on Qiu on her remaining claims. It determined that Qiu's damages totaled
$4,072,402.


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                                                         Ashleigh Kasper
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                        Exhibit 7
  Case 3:22-cv-00058-RBM-BLM Document 1-2 Filed 01/14/22 PageID.72 Page 58 of 60



   Maria Guerrero v. Able Engineering Management Co. LLC, Ableserve Management
   Company and Jones Lang Lasalle Brokerage Inc; 2019 Jury Verdicts LEXIS 12915
                                             37-2017-00020532-CU-WT-CTL
                                                       April 03, 2019

Headline: Janitor Claimed Bad Reviews Began After Taking Off for Doctor

Published Date: June 17, 2019

Topic: Employment - Retaliation - Employment - Disability Discrimination - Discrimination - Fair Housing Act

Injury: Emotional Distress

Practice Area: Civil Rights Law

State: California

Court: Superior Court of San Diego County, San Diego

Plaintiff Counsel
Josh Gruenberg
Firm Name: Gruenberg Law
Address: San Diego, CA
Plaintiff Name: (Maria Guerrero)
Josh Pang
Firm Name: Gruenberg Law
Address: San Diego, CA
Plaintiff Name: (Maria Guerrero)
Pam Vallero
Firm Name: Gruenberg Law
Address: San Diego, CA
Plaintiff Name: (Maria Guerrero)

Defendant Counsel
Jennifer M. Hendricks
Firm Name: Ogletree Deakins Nash Smoak & Stewart PC
Address: San Diego, CA
Defendant Name: (1 Able Engineering Management Co. LLC dba Able Engineering, Able Engineering, Jones Lang Lasalle
Brokerage Inc.)
Frank L. Tobin
Firm Name: Ogletree Deakins Nash Smoak & Stewart PC
Address: San Diego, CA


                                                    Ashleigh Kasper
  Case 3:22-cv-00058-RBM-BLM Document 1-2 Filed 01/14/22 PageID.73 Page 59 of 60
                                                                                                     Page 2 of 3
    Maria Guerrero v. Able Engineering Management Co. LLC, Ableserve Management Company and Jones Lang Lasalle
                                     Brokerage Inc; 2019 Jury Verdicts LEXIS 12915

Defendant Name: (1 Able Engineering Management Co. LLC dba Able Engineering, Able Engineering, Jones Lang Lasalle
Brokerage Inc.)
Catherine J. Gallagher
Firm Name: Ogletree Deakins Nash Smoak & Stewart PC
Address: San Diego, CA
Defendant Name: (1 Able Engineering Management Co. LLC dba Able Engineering, Able Engineering, Jones Lang Lasalle
Brokerage Inc.)

Judge: Kenneth J. Medel

Case Summary
In 2017, plaintiff Maria Guerrero, a janitor at 655 W. Broadway, in downtown San Diego, was terminated from her position.
She claimed she was fired after taking time off from work to go to doctor's appointments for her shoulder injury.

Guerrero sued Crown Energy Services Inc. (which was initially erroneously sued as Able Engineering Management Co. LLC)
and Ableserve Management Co., both of which were believed to be doing business as Able Engineering. She also sued Jones
Lang LaSalle Americas Inc. (which was initially erroneously sued as Jones Lang LaSalle Brokerage Inc.). Guerrero alleged that
the defendants' actions constituted disability discrimination and retaliation.

Plaintiff's counsel contended that although Guerrero received positive reviews for the first 10.5 years of her employment,
Guerrero's employers suddenly began to retaliate against her with concocted write-ups, unwarranted suspensions without pay,
bogus investigations, and her ultimate termination. In the last half-year of Guerrero's employment, she received four written
warnings, including two suspensions, before being terminated. Plaintiff's counsel contended that the bad reviews began after
Guerrero started to take off of work for doctor's appointments.

Defense counsel maintained that the disciplinary actions were justified and that Guerrero's termination was, in fact, a "layoff."
Counsel also disputed that Guerrero suffered a disability.

Injury Text:

Guerrero claimed that she suffers from emotional distress as a result her termination. She sought recovery of economic
damages for her past and future lost wages, noneconomic damages for her past and future emotional pain and suffering, and
punitive damages.

Trial Length

3.0 weeks

Jury Deliberation

2.0 days

Jury Poll

11-1

Post Trial Status

Plaintiff's counsel's motion for attorney's fees is pending.

       PLAINTIFF NAME                                                                           PROPERTY AWARD
       Maria Guerrero                                                                           $ 1,107,856

Plaintiff Amounts:

                                                         Ashleigh Kasper
   Case 3:22-cv-00058-RBM-BLM Document 1-2 Filed 01/14/22 PageID.74 Page 60 of 60
                                                                                                      Page 3 of 3
     Maria Guerrero v. Able Engineering Management Co. LLC, Ableserve Management Company and Jones Lang Lasalle
                                      Brokerage Inc; 2019 Jury Verdicts LEXIS 12915

(Maria Guerrero)

  $900,000 Personal Injury: Punitive Exemplary Damages

  $19,494 Personal Injury: Past Lost Earnings Capability

   $38,362 Personal Injury: FutureLostEarningsCapability

  $100,000 Personal Injury: past noneconomic damages

  $50,000 Personal Injury: future noneconomic damages

Plaintiff Expert(s)
Emily S. Churchill, M.D.
Address: San Diego, CA
Specialty: Internal Medicine
Affiliation: treating doctor, Josh Gruenberg, Pam Vallero, Josh Pang

Award: $ 1,107,856

Award Details: The jury rendered a mixed verdict. It found that while Jones Lang LaSalle was a joint employer, it did not
have separate knowledge of Guerrero's alleged disability. However, the jury found for Guerrero on all of her claims against the
Able defendants. It determined that Guerrero's damages totaled $1,107,855.60.


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                                                       Ashleigh Kasper
